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                                  #:2389


    1 VIVIAN I. ORLANDO (SBN 213833)
      VOrlando@maynardnexsen.com
    2 Maynard Nexsen LLP
      10100 Santa Monica Boulevard, Suite 550
    3 Los Angeles, CA 90067
      Telephone: 310.596.4500
    4
      Attorneys for Defendants
    5 USAA Casualty Insurance Company
    6
    7
    8                    UNITED STATES DISTRICT COURT
    9                  CENTRAL DISTRICT OF CALIFORNIA
   10
   11 JOHN W. SIGLER,                           Case No. 8:22-cv-02325-CJC-JDEx
   12                  Plaintiff,               (Honorable Cormac J. Carney)
   13        v.                         DECLARATION OF MELISSA
                                        ORDELL IN SUPPORT OF
   14   JORGE GONZALEZ, USAA            DEFENDANT USAA CASUALTY
        CASUALTY INSURANCE              INSURANCE COMPANY’S
   15   COMPANY, INTERINSURANCE         MOTION FOR JUDGMENT ON
        EXCHANGE OF AUTOMOBILE          THE PLEADINGS ON
   16   CLUB, IMPERIAL BODY SHOP, INC., PLAINTIFF’S FIRST AMENDED
        PABLO GALVEZ, GREG TAYLOR,      COMPLAINT, OR IN THE
   17   MELISSA ORDELL, DANELLE         ALTERNATIVE, MOTION TO
        BUSHNELL, AMBER PETERSON (aka COMPEL APPRAISAL
   18   AMBER PETERSON FORREST, aka
        AMBER J. SCHNEIDER), KEVIN      [Filed Concurrently with (i) Defendant’s
   19   KARAPOGOSIAN, JAMES SYRING, Motion for Judgment on the Pleadings;
        RANDY TERMEER, JOHN BOYLE       (ii) Declaration of Vivian I. Orlando;
   20   and DOES 1 to 99, inclusive,    and (iii) [Proposed] Order]
   21                 Defendants.               Hearing:
                                                Date:      February 26, 2024
   22                                           Time:      1:30 p.m.
                                                Courtroom: 9 B
   23
                                                Discovery C/O:   April 22, 2024
   24                                           Motion C/O:      June 17, 2024
                                                Trial Date:      August 27, 2024
   25
                                                Am. Comp. Filed: October 9, 2023
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   27
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   1                      DECLARATION OF MELISSA ORDELL
   2         I, Melissa Ordell, hereby declare as follows:
   3         1.     I am employed by USAA Casualty Insurance Company (“USAA CIC”)
   4 as a claims manager. My responsibilities include handling claims made under
   5 insurance policies issued by USAA CIC. I was directly involved in handling the
   6 insurance claim at issue in this lawsuit, which was assigned claim no. 003737616-
   7 007. Based upon my involvement with this matter and the documents, I have
   8 personal knowledge of the matters set forth below and, if called to testify, could and
   9 would competently testify as follows:
  10         2.     I am familiar with the manner in which USAA CIC investigates,
  11 adjusts, and pays first party automobile insurance claims. I am also personally
  12 familiar with the manner in which USAA CIC maintains and prepares reports and
  13 records related to the investigation of claims. It is USAA CIC’s practice and
  14 procedure to maintain records and document acts and events concerning the
  15 investigation of a claim at or about the time such records are received or such acts
  16 or events occurs. The claim file for a particular claim generally contains records and
  17 documentation regarding USAA CIC’s handling of that claim, and the claim notes
  18 function as a diary of activities regarding a given claim that are entered by adjusters
  19 or other personnel at or near the time of the acts or events described therein. USAA
  20 CIC relies upon its claim notes, claim files, and insurance policies to be reliable
  21 business records. I have reviewed the subject insurance policy and the claim file and
  22 claim notes with respect to the insurance claim at issue in this action.
  23         3.     Attached hereto as Exhibit A is a true and correct copy of the
  24 automobile policy (the “Policy”) issued by USAA CIC to Plaintiff John W. Sigler
  25 (“Plaintiff”) for the policy period February 27, 2020 to August 27, 2020.
  26         4.     On March 1, 2020, USAA CIC sent Plaintiff John W. Sigler
  27 (“Plaintiff”) a letter that included California required notices regarding his claim. A
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   1 true and correct copy of this Notice letter to Plaintiff is attached hereto as Exhibit
   2 B.
   3         5.    On March 10, 2020, USAA CIC completed its initial vehicle valuation
   4 (“VVR”), which USAA CIC sent to Plaintiff by email with a cover letter on March
   5 11, 2020. A true and correct copy of the March 11, 2020 email forwarding the March
   6 10 VVR is attached as Exhibit C.
   7         6.    The March 11, 2020 cover letter (Exhibit C) advised Plaintiff that
   8 USAA CIC has determined that his vehicle was a “Total Loss” and offered a Total
   9 Loss Settlement. According to the Policy (Exhibit A), a damaged vehicle is a Total
  10 Loss when, in the judgment of USAA CIC, the cost to repair the vehicle is greater
  11 than the actual cost value of the vehicle minus the damaged vehicle’s salvage value.
  12 (Exhibit A at USAA-SIGLER_00050.) As stated in the March 11, 2020 cover letter,
  13 the “actual cost value” is less than the Total Loss Settlement and does not include
  14 taxes, reimbursement for gas in the vehicle, or other fees that do not go to the value
  15 of the actual vehicle. According to the March 10 VVR, the Vehicle’s actual cash
  16 value is $8,437.
  17         7.    USAA CIC uses a third-party vendor’s platform to create the VVR.
  18 That third party is CCC. It is my understanding from working in the industry that
  19 many car insurance companies in the United States use this same platform.
  20         8.    On March 27, 2020, USAA sent Plaintiff an updated March 23, 2020
  21 VVR as well as a copy of the March 10, 2020 repair estimate from Imperial Body
  22 Shop, Inc. (“IBS”). A true and correct copy of the March 27, 2020 email sending the
  23 March 23 VVR and Imperial’s March 10, 2020 repair estimate is attached as Exhibit
  24 D.
  25         9.    After receiving the March 10 VVR, Plaintiff identified some
  26 deficiencies, which, over the next 2-3 weeks, USAA CIC tried to work with Plaintiff
  27 to correct. On March 31, 2020 USAA sent Plaintiff an email with its final cover
  28 letter and VVR. A true and correct copy of the final March 31 letter and VVR is


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   1 attached hereto as Exhibit E. USAA CIC determined that, based on the March 31,
   2 2020 VVR, the repair estimate and any salvage, the car was “Total Loss.”
   3         10.   According to the March 31 VVR, the actual cash value is $8990. That
   4 number is also reflected in the March 31 letter. (Exhibit E) The $10,090.05 is the
   5 Total Settlement Offer includes taxes, gas reimbursement, and registration fees.
   6 USAA CIC determination of “Total Loss” under the Policy does not require
   7 inclusion of any reimbursement for taxes, gas reimbursement, and registration fees.
   8 Further, USAA CIC does not create a separate claim for a Total Loss, and the policy
   9 owner does not need to authorize the opening of a claim specifically for Total Loss.
  10 Once a claim is closed, it may be re-opened by USAA CIC if Plaintiff again seeks
  11 to assert a claim for coverage under the Policy.
  12         11.   Plaintiff had the option to keep his vehicle despite the Total Loss
  13 determination, in which event USAA would have paid Plaintiff the Total Loss
  14 Settlement minus the salvage value of his vehicle.
  15         12.   I have reviewed the document produced by the Interinsurance
  16 Exchange of the Automobile Club (the “Exchange”) and reflecting Bates Numbers
  17 Exchange-000083-086, a true and correct copy of which is attached hereto as
  18 Exhibit F. Given my experience adjusting car insurance claims, I recognize it as a
  19 standard listing of salvage prices for cars comparable to Plaintiff’s vehicle, which
  20 was assigned claim no. 003737616-007, from March 2020.
  21         13.   USAA CIC, through its counsel, has asserted its appraisal rights and
  22 has made a written demand for appraisal as contemplated by the Policy’s appraisal
  23 provision.
  24         14.   I reside in Flagstaff, Arizona and work in Phoenix, Arizona. I have
  25 never lived in California and have no intention of moving away from Arizona or to
  26 California.
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   1         15.    In the last year, I have visited California 0 times for business purposes
   2 and 0 times for personal trips. I do not own property in California. I do not maintain
   3 any bank or brokerage accounts in California.
   4         16.    I do not conduct business in California outside of that which is
   5 necessary in the course of my employment with USAA CIC. More specifically, on
   6 behalf of myself, I do not make sales, solicit business, designate an agent for service
   7 of process, or hold a license, professionally or otherwise, in the State of California.
   8 I have not availed myself of California’s laws or benefits and have not personally
   9 directed any actions toward California as an individual.
  10         17.    I am familiar with Plaintiff, and my interactions with Plaintiff have
  11 been limited to those interactions required as part of my employment with USAA
  12 CIC. I have no personal relationship with Plaintiff. I had no personal involvement
  13 with the subject matter of the captioned lawsuit aside from my involvement with
  14 matters related to Plaintiff on behalf of USAA CIC until Plaintiff summoned me
  15 personally as a defendant. I am not a party to any contract with Plaintiff.
  16         18.    I was in Phoenix, Arizona during all of my interactions with Plaintiff. I
  17 have never travelled to California to meet with Plaintiff or any other party in this
  18 lawsuit.
  19         19.    As to the Defendants, I am familiar with only Randy Termeer and
  20 DaNelle Bushnell. I do not interact with Mr. Termeer, who is based in a different
  21 office. I work in the same office as Ms. Bushnell.
  22         20.    In March 2020, I held the position I hold today in USAA CIC’s
  23 Phoenix, Arizona office. One of my duties was supervising claims adjusters and
  24 assisting them when they had a difficult claim either because of the facts of the claim
  25 or because the policyholder or third-party claimant was not in agreement with USAA
  26 CIC’s determination. At that point the adjuster can escalate the claim to me. I
  27 interacted with Plaintiff after DaNelle Bushnell, who was then an Injury Adjuster
  28 that I supervised, escalated his claim to me.


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   1         21.   I was not personally served with the Summons and Complaint in this
   2 lawsuit while I was in the State of California or otherwise. I received a copy of the
   3 Summons and Complaint through my counsel, Maynard Nexsen LLP.
   4         22.   Defending a lawsuit against me in California would be quite
   5 burdensome for me. Los Angeles, California is nearly 500 miles away from my
   6 home and almost 400 miles away from my place of business. To drive between
   7 Flagstaff or Phoenix, Arizona and Los Angeles would take 6-8 hours. If I flew, I
   8 would still expect a 4-5 hour trip each way when you add in ground travel. Given
   9 my limited contact with California outside of the requirements of my position at
  10 USAA CIC, I have never contemplated being personally sued in California.
  11         I declare under penalty of perjury under the laws of the United States of
  12 America that the foregoing is true and correct.
  13         Executed this 18th day of December 2023, at Flagstaff, Arizona.
  14
  15                                               ______________________________
  16                                                          Melissa Ordell
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      From: USAA[USAA.Web.Services@customermail.usaa.com]

      Sent: Sunday, March 01, 2020 11:14 AM

      To: jwsigler@sws-llc.com


      Subject: California Required Notice for Your USAA Claim




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                                     EXHIBIT B            USAA-SIGLER_000195
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       Thank you for agreeing to accept messages and documents electronically for the duration of this
       claim. Here are the terms and conditions for electronic communication with you.

       USAA Reference Number:             616 - 7

       Dear Mr. Sigler,


       Please see attached for additional information.


                                  USAA, 9800 Fredericksburg Road, San Antonio, Texas, 78288




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                                                     EXHIBIT B                                USAA-SIGLER_000196
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                    USAA Casualty Insurance Company
                                                                           CALIFORNIA STATE
                                                                           REQUIRED NOTICE

      JOHN W SIGLER

      LA MIRADA CA




             Review California State Required Notice

    March 1, 2020

    Dear Mr. Sigler,

    We are writing to inform you about the following claim:

           USAA policyholder:        John W Sigler
           Claim number:                      6-007
           Date of loss:             February 28, 2020
           Loss location:            Costa Mesa, CA

    California law requires that we send you this notice following an accident or loss that is reported to us regardless of our
    liability decision. You have the right to select the repair shop of your choice and are under no obligation to use a shop
    from any of USAA's repair programs.

            Important Legal Information
            WE ARE PROHIBITED BY LAW FROM REQUIRING THAT REPAIRS BE DONE AT A SPECIFIC AUTOMOTIVE
            REPAIR DEALER. YOU ARE ENTITLED TO SELECT THE AUTO BODY REPAIR SHOP TO REPAIR DAMAGE
            COVERED BY US. WE HAVE RECOMMENDED AN AUTOMOTIVE REPAIR DEALER THAT WILL REPAIR YOUR
            DAMAGED VEHICLE. WE RECOMMEND YOU CONTACT ANY OTHER AUTOMOTIVE REPAIR DEALER YOU ARE
            CONSIDERING TO CLARIFY ANY QUESTIONS YOU MAY HAVE REGARDING SERVICES AND BENEFITS. IF YOU
            AGREE TO USE OUR RECOMMENDED AUTOMOTIVE REPAIR DEALER, WE WILL CAUSE THE DAMAGED
            VEHICLE TO BE RESTORED TO ITS CONDITION PRIOR TO THE LOSS AT NO ADDITIONAL COST TO YOU OTHER
            THAN AS STATED IN THE INSURANCE POLICY OR AS OTHERWISE ALLOWED BY LAW. IF YOU EXPERIENCE A
            PROBLEM WITH THE REPAIR OF YOUR VEHICLE, PLEASE CONTACT US IMMEDIATELY FOR ASSISTANCE.

    If we haven’t already done so, we’ll contact you when we’ve confirmed available coverage under the policy and any
    limitations for that coverage.

    If you have questions, please call us at 210-531-USAA (8722), our mobile shortcut #8722 or 800-531-8722.

    Thank you,
    USAA Casualty Insurance Company

    Enclosed:    California Auto Body Repair Consumer Bill Of Rights - XA012


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                       USAA Casualty Insurance Company                 CALIFORNIA AUTO BODY REPAIR
                                                                           CONSUMER BILL OF RIGHTS


    A CONSUMER IS ENTITLED TO:

    1.   SELECT THE AUTO BODY REPAIR SHOP TO REPAIR AUTO BODY DAMAGE COVERED BY THE INSURANCE COMPANY. AN
         INSURANCE COMPANY SHALL NOT REQUIRE THE REPAIRS TO BE DONE AT A SPECIFIC AUTO BODY REPAIR SHOP.

    2.   AN ITEMIZED WRITTEN ESTIMATE FOR AUTO BODY REPAIRS AND, UPON COMPLETION OF REPAIRS, A DETAILED INVOICE.
         THE ESTIMATE AND THE INVOICE MUST INCLUDE AN ITEMIZED LIST OF PARTS AND LABOR ALONG WITH THE TOTAL
         PRICE FOR THE WORK PERFORMED. THE ESTIMATE AND INVOICE MUST ALSO IDENTIFY ALL PARTS AS NEW, USED,
         AFTERMARKET, RECONDITIONED, OR REBUILT.

    3.   BE INFORMED ABOUT COVERAGE FOR TOWING AND STORAGE SERVICES.

    4.   BE INFORMED ABOUT THE EXTENT OF COVERAGE, IF ANY, FOR A REPLACEMENT RENTAL VEHICLE WHILE A DAMAGED
         VEHICLE IS BEING REPAIRED.

    5.   BE INFORMED OF WHERE TO REPORT SUSPECTED FRAUD OR OTHER COMPLAINTS AND CONCERNS ABOUT AUTO BODY
         REPAIRS.

    6.   SEEK AND OBTAIN AN INDEPENDENT REPAIR ESTIMATE DIRECTLY FROM A REGISTERED AUTO BODY REPAIR SHOP FOR
         REPAIR OF A DAMAGED VEHICLE, EVEN WHEN PURSUING AN INSURANCE CLAIM FOR REPAIR OF THE VEHICLE.

                               COMPLAINTS WITHIN THE JURISDICTION OF THE BUREAU OF AUTOMOTIVE REPAIR

                         Complaints concerning the repair of a vehicle by an auto body repair shop should be directed to:

                                                                    Toll Free (800) 799-3811
                                                                 Bureau of Automotive Repair
                                                                   10949 North Mather Blvd.
                                                                  Rancho Cordova, CA 95670

    The Bureau of Automotive Repair can also accept complaints over its web site at:
                                                       www.autorepair.ca.gov

                          COMPLAINTS WITHIN THE JURISDICTION OF THE CALIFORNIA INSURANCE COMMISSIONER

    Any concerns regarding how an auto insurance claim is being handled should be submitted to the California Department of
    Insurance at:

                                                              800-927-4357 or (213) 897-8921
                                                             California Department of Insurance
                                                                 Consumer Services Division
                                                                   300 South Spring Street
                                                                    Los Angeles, CA 90013

    The California Department of Insurance can also accept complaints over its web site at:
                                                         www.insurance.ca.gov
    NOTE: Authority cited: Sections 790.10, 1874.85, 1874.87 of the California Insurance Code. Reference: Sections 790.03(c), 790.03(h)(3), and 1874.87 of the
    California Insurance Code; Sections 9884.8, 9884.9 of the California Business and Professions Code; and California Code of Regulations, Title 10, Chapter 5,
    Subchapter 7.5, Section 2695.8(j).




    XA012                                                                                                                                             52865-0318
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                                                                        EXHIBIT B                                    USAA-SIGLER_000198
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           EXHIBIT C
                                 EXHIBIT C
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                                      #:2463




      From: USAA[USAA.Web.Services@customermail.usaa.com]

      Sent: Wednesday, March 11, 2020 11:14 AM

      To: jwsigler@sws-llc.com


      Subject: Information for Your USAA Total Loss Settlement




0901119ca7a169b7
                                    EXHIBIT C             USAA-SIGLER_000384
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                                       #:2464



       Thank you for agreeing to accept messages and documents electronically for the duration of this
       claim. Here are the terms and conditions for electronic communication with you.

       USAA Reference Number:             616 - 7

       Dear Mr. Sigler,


       Please see attached for additional information.


                                  USAA, 9800 Fredericksburg Road, San Antonio, Texas, 78288




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                                                     EXHIBIT C                                USAA-SIGLER_000385
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                     USAA Casualty Insurance Company
                                                                            INFORMATION FOR
                                                                             YOUR TOTAL LOSS
                                                                                SETTLEMENT
      JOHN W SIGLER

      LA MIRADA CA




             Provide Information for Your Total Loss Settlement

    March 11, 2020

    Dear Mr. Sigler,

    Thank you for trusting us with your insurance needs. This letter confirms we sent you information about the total loss of
    your vehicle. I've enclosed the following:

        ·   An information sheet with details about your claim and payment amount, and important information from your
            state.
        ·   Our Total Loss Valuation, which is our assessment of the vehicle’s damages.

    Next Steps
    Please review the enclosures and if you haven’t already, contact us with the following information:

        ·   Title and lien holder details.
                 o If you’re paying on the vehicle, provide your account number and the name, address and phone number
                     of the lien holder.
                 o Provide the state where the vehicle is titled.
                 o If you have the vehicle’s title, do not sign it. We’ll provide you with more details about the title transfer.
                 o If we need any forms from you, such as an Odometer statement or Power of Attorney, we’ll send them
                     to you by mail. Remember to follow your state’s guidance on notarization.
        ·   Your preferred payment method.
                 o Electronic funds transfer — USAA will pay you by making a one-time funds transfer directly into a
                     checking or savings account you designate. Non-USAA accounts must be on your funds transfer list. To
                     add an account, log on to usaa.com, select the Funds Transfer link and click Add an Account. The
                     deposit will be made within five business days of finalizing your claim.
                 o Check — A check for the payment amount will be sent to you within seven business days of finalizing
                     your claim.

    Continue Your USAA Insurance Payments
    Please continue to pay your premium as you normally would. If you decide to keep your vehicle when your claim is paid,
    be sure to speak with a policy service representative about coverage. If you don’t keep your vehicle, it’ll be removed
    from the policy retroactive to the date after the loss date.




            6 - 007 - 8524 - 10                                                                                       126163-0818


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                                       #:2466


    How to Contact Us
    Please send any correspondence or questions to us using one of the following options and include the claim/reference
    number above on each page faxed or mailed:

                         usaa.com or our mobile app:       Upload documents or post a secure message to your claim file
                                                           through the Claim Communication Center.

                         Address:                          ATTN: Salvage Recovery
                                                           P.O. Box 659474
                                                           San Antonio, TX 78265

                         Fax:                              1-800-531-8669

                        Phone:                              1-210-531-8722 ext. 33105
    It’s an honor to serve you. Please think of us first for all your financial needs.

    Thank you,
    USAA Casualty Insurance Company

    Enclosed:     Claim, Payment And State Information
                  CCC TOTAL LOSS VALUATION




            6 - 007 - 8524 - 10                                                                                      126163-0818



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                9800 Fredericksburg Road
                San Antonio, Texas 78288




                                           Claim and Payment Information

       Following are details about your claim and claim payment:

       Claim:

                   Registered owner:                 John W Sigler
                   Policyholder:                     John W Sigler
                   USAA #:                                  7616
                   Claim #:                                  616–7
                   Loss location:                    Costa Mesa, CA
                   Type of loss:                     Collision
                   Date of loss:                     February 28, 2020
                   Vehicle information:              2013 CHEVROLET IMPALA 4D LTZ
                   VIN #:                            2G1WC5E3XD1155837




       Payment:

                   Vehicle’s actual cash value:      $8,437.00
                   Sales tax:                        $801.52
                   CA CVR Fees:                      $0.00
                   Manager Adjustment:               $0.00
                   Collision Deductible:             $(1,000.00)
                   Net Total:                        $8,238.52

                                     Important Information from the state of CA

       If you cannot purchase a comparable vehicle for the gross settlement amount within 35 days of
       receipt of the final settlement amount, please contact us and we will reopen the file.




       003737616 - DM-04664 - 7 - 8524 - 10                                                  126190-0919




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                                       #:2468




                                                                                Prepared for USAA CASUALTY INSURANCE COMPANY


             REPORT SUMMARY
                                                                                                  The CCC ONE® Market Valuation
           CLAIM INFORMATION                                                                      Report reflects CCC Information
                                                                                                  Services Inc.’s opinion as to the value
     Owner                                                  Sigler, John
                                                                                                  of the loss vehicle, based on information
                                                                                                  provided to CCC by USAA CASUALTY
                                                            La Mirada, CA                         INSURANCE COMPANY.
     Loss Vehicle                                           2013 Chevrolet Impala LTZ
                                                                                                  Loss vehicle has 33% fewer than
     Loss Incident Date                                     02/28/2020
                                                                                                  average mileage of 99,000.
     Claim Reported                                         03/10/2020



            INSURANCE INFORMATION
     Report Reference Number                                96832839
     Claim Reference                                                             7001
     Adjuster                                               Bushnell, Danelle
     Appraiser                                              Galvez, Pablo
     Odometer                                               66,632
     Last Updated                                           03/10/2020 06:06 PM


                                                                                                            BASE VEHICLE VALUE
            VALUATION SUMMARY                                                                     This is derived per our Valuation
                                                                                                  methodology described on the next
     Base Vehicle Value                                                    $ 8,437.00             page.

     Adjusted Vehicle Value                                                $ 8,437.00
                                                                                                        ADJUSTED VEHICLE VALUE
     Vehicular Tax (9.5%)                                                   + $ 801.52
                                                                                                  This is determined by adjusting the
     Tax reflects applicable state, county and municipal
                                                                                                  Base Vehicle Value to account for the
     taxes.
                                                                                                  actual condition of the loss vehicle and
                                                                                                  certain other reported attributes, if any,
     Total                                                        $ 9,238.52                      such as refurbishments and after factory
                                                                                                  equipment.
    The total may not represent the total of the settlement as other factors (e.g. license and
    fees) may need to be taken into account.
                                                                                                 Inside the Report

                                                                                                 Valuation Methodology............................. 2
                                                                                                 Vehicle Information...................................3
                                                                                                 Vehicle Condition......................................6
                                                                                                 Previous Valuation....................................8
                                                                                                 Comparable Vehicles............................. 10
                                                                                                 Valuation Notes...................................... 15
                                                                                                 Supplemental Information.......................16




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                                                                                                          Owner: Sigler, John
                                                                                                          Claim:                       7001



    VALUATION METHODOLOGY
    How was the valuation determined?



                                        CLAIM INSPECTION
                                        USAA CASUALTY INSURANCE COMPANY has provided CCC with the zip code where the loss
                                        vehicle is garaged, loss vehicle VIN, mileage, equipment, as well as loss vehicle condition, which is
                                        used to assist in determining the value of the loss vehicle.




                                                                          DATABASE REVIEW
                                                                          CCC maintains an extensive database of vehicles that currently are
                                                                          or recently were available for sale in the U.S. This database includes
                                                                          vehicles advertised for sale by dealerships or private parties. CCC
                                                                          also obtains vehicle sales prices from a database of California
                                                                          Department of Motor Vehicles vehicle registration sold transactions.
                                                                          All of these sources are updated regularly.




    SEARCH FOR COMPARABLES
    When a valuation is created the database is searched and
    comparable vehicles in the area are selected. The zip code
    where the loss vehicle is garaged determines the starting point
    for the search. Comparable vehicles are similar to the loss
    vehicle based on relevant factors.
    Because the loss vehicle was recently valued, the comparable
    vehicle(s) were added for informational purposes and were not
    used to determine the Base Vehicle Value.

    CALCULATE BASE VEHICLE VALUE
    The Base Vehicle Value is based on CCC’s recent previous valuation of this vehicle
    reflecting the current inspection information provided by USAA CASUALTY INSURANCE
    COMPANY. Adjustments may have been made where the current information differs
    from that provided to CCC regarding the previous valuation, such as differences in
    mileage, options, and additional equipment. Dollar adjustments are based upon market
    research.




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                                       #:2470


                                                                                  Owner: Sigler, John
                                                                                  Claim:                           7001




                VEHICLE INFORMATION
     VEHICLE DETAILS
                                                                                  Vehicles sold in the United States
     Location                                  LA MIRADA, CA 90638                are required to have a manufacturer
                                                                                  assigned Vehicle Identification
     VIN                                       2G1WC5E3XD1155837
                                                                                  Number(VIN). This number provides
     Year                                      2013                               certain specifications of the vehicle.
     Make                                      Chevrolet
                                                                                  Please review the information in the
     Model                                     Impala                             Vehicle Information Section to confirm
     Trim                                      LTZ                                the reported mileage and to verify that
                                                                                  the information accurately reflects the
     Body Type                                 Sedan
                                                                                  options, additional equipment or other
     Engine -                                                                     aspects of the loss vehicle that may
           Cylinders                           6                                  impact the value.

           Displacement                        3.6L
           Fuel Type                           Gasoline
           Carburation                         Direct Injection
     Transmission                              Automatic Transmission Overdrive
     Curb Weight                               3649 lbs


     VEHICLE HISTORY SUMMARY
     Experian AutoCheck            No Title Problem Found

     National Highway Traffic      1 Recall
     Safety Administration




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                                       #:2471


                                                                               Owner: Sigler, John
                                                                               Claim:                         7001




               VEHICLE INFORMATION
     VEHICLE EQUIPMENT
                                                                               To the left is the equipment of the
     Odometer                      66,632                                      loss vehicle that USAA CASUALTY
                                                                               INSURANCE COMPANY provided to
     Transmission                  Automatic Transmission                      CCC.

                                   Overdrive
                                                                                 Standard This equipment is
     Power                         Power Steering                                included in the base configuration of
                                                                                 the vehicle at time of purchase.
                                   Power Brakes

                                   Power Windows                                 Additional Equipment that is not
                                                                                 Standard but was noted to be on the
                                   Power Locks
                                                                                 loss vehicle.
                                   Power Mirrors

                                   Power Driver Seat

                                   Power Passenger Seat

                                   Power Trunk/Gate Release

     Decor/Convenience             Air Conditioning

                                   Climate Control

                                   Tilt Wheel

                                   Cruise Control

                                   Rear Defogger

                                   Intermittent Wipers

                                   Console/Storage

                                   Keyless Entry

                                   Message Center

                                   Home Link

                                   Remote Starter

                                   Wood Interior Trim

     Seating                       Bucket Seats

                                   Leather Seats

                                   Heated Seats

     Radio                         AM Radio

                                   FM Radio

                                   Stereo

                                   Search/Seek

                                   CD Player

                                   Steering Wheel Touch Controls


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                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




              VEHICLE INFORMATION
     VEHICLE EQUIPMENT

                                   Auxiliary Audio Connection

                                   Premium Radio

                                   Satellite Radio

     Wheels                        Aluminum/Alloy Wheels

     Safety/Brakes                 Air Bag (Driver Only)

                                   Passenger Air Bag

                                   Anti-lock Brakes (4)

                                   4-wheel Disc Brakes

                                   Front Side Impact Air Bags

                                   Head/Curtain Air Bags

                                   Communications System

                                   Hands Free

                                   Alarm

                                   Traction Control

                                   Stability Control

     Exterior/Paint/Glass          Dual Mirrors

                                   Heated Mirrors

                                   Body Side Moldings

                                   Tinted Glass

                                   Fog Lamps

                                   Rear Spoiler

                                   Clearcoat Paint

                                   Metallic Paint




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                                       #:2473


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                            7001




             VEHICLE CONDITION
     COMPONENT CONDITION
                                                                                                    USAA CASUALTY INSURANCE
                     Condition            Inspection Notes/Typical Vehicle           Value Impact   COMPANY uses condition inspection
                                          Description                                               guidelines to rate the condition of key
                                                                                                    components of the loss vehicle on a
     Mechanical      AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    three-point scale. A rating of average
                                          Engine: Minor to no seepage. Belts and
                                                                                                    condition results in a valuation of that
                                          hoses firm, show minimal wear. Minimal                    component that is consistent with typical
                                          dirt and grease in engine compartment.                    vehicles for that year, make and model
                                          Transmission: Fluid slightly discolored.                  of vehicle. If a component is rated in
                                          None to a few areas of seepage.                           exceptional condition, then a positive
                                                                                                    monetary adjustment is made to reflect
     Tires           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    the impact of that condition level on the
                                          Rear Tires: 41% to 90% of new.
                                                                                                    value of the loss vehicle. Similarly, if a
                                          Example: Typical new car tires are
                                                                                                    component is rated in below average
                                          11/32, loss measures at 5/32 = 46%                        condition, then a negative monetary
                                          (5/11)                                                    adjustment is made to reflect the impact
                                          Front Tires: 41% to 90% of new.                           of that condition level on the value of the
                                          Example: Typical new car tires are                        loss vehicle. Inspection Notes, if any,
                                          11/32, loss measures at 5/32 = 46%                        reflect additional observations from the
                                          (5/11)                                                    appraiser regarding the loss vehicle's
                                                                                                    condition. Monetary adjustments are
     Paint           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    based upon market research consisting
                                          A few small to minimal deep surface                       of data gathered from dealerships in
                                          chips and/or scratches. No significant                    California.
                                          peeling and/or flaking. Minor swirl
                                                                                                    CCC makes dollar adjustments that
                                          marks. Slight to no Fading.
                                                                                                    reflect the impact the reported condition
     Body            AVERAGE              Typical Vehicle Desc:                             $0      has on the value of the loss vehicle as
                                          Sheet Metal: Few to no dents. Few to                      compared to Average condition. These
                                          numerous dings. No significant to no                      dollar adjustments are based upon
                                          surface rust.                                             interviews with dealerships across the
                                          Trim: Minimal damage to components.                       United States.

                                          No missing components. A few to zero
                                          dents. Numerous to a few dings.
     Glass           AVERAGE              Typical Vehicle Desc:                             $0
                                          Light surface scratches and/or pitting.
                                          Few to no chips.




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                                                                                                     Owner: Sigler, John
                                                                                                     Claim:                 7001




                VEHICLE CONDITION
     COMPONENT CONDITION

                     Condition            Inspection Notes/Typical Vehicle            Value Impact
                                          Description

     Interior        AVERAGE              Typical Vehicle Desc:                              $0
                                          Headliner: A few small to no holes and/
                                          or burn marks. No significant scuffing to
                                          lightly scuffed.
                                          Dashboard: A few small to no
                                          scratches and/or gouges. Minimal
                                          damage to firmly intact components.
                                          Light to no significant wear.
                                          Carpets: Lightly soiled to clean and/
                                          or stained. None to a few small tears,
                                          holes and /or burn marks. None or no
                                          significant bare spots.
                                          Seats: Lightly soiled or clean, faded
                                          and/or discolored. None to no significant
                                          tears, holes and/or burn marks. None or
                                          no significant bare spots.

        Total Condition Adjustments                                                          $0




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                                       #:2475


                                                                               Owner: Sigler, John
                                                                               Claim:                           7001




              Previous Valuation
     Options                                Loss    Previous
                                                                               Comp 1       Updated Date: 03/10/2020
                                           Vehicle Valuation 1
                                                                               2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        66,632               Gasoline Direct Injection
     Automatic Transmission                                                    VIN 2G1WC5E3XD1155837
                                                                               Source Previous Valuation
     Overdrive
     Power Steering                                                            Previous Valuation means that the
     Power Brakes                                                              loss vehicle was recently valued. The
                                                                               details shown in this section reflect the
     Power Windows
                                                                               odometer and any differences in vehicle
     Power Locks                                                               configuration provided by the insurer
     Power Mirrors                                                             as compared to the previous valuation.
     Power Driver Seat                                                         The loss vehicle is being valued based
     Power Passenger Seat                                                      on this previous valuation, adjusted
                                                                               to reflect any differences in reported
     Power Trunk/Gate Release
                                                                               attributes.
     Air Conditioning
     Climate Control
     Tilt Wheel
     Cruise Control
     Rear Defogger
     Intermittent Wipers
     Console/Storage
     Keyless Entry
     Message Center
     Home Link
     Remote Starter
     Wood Interior Trim
     Bucket Seats
     Leather Seats
     Heated Seats
     AM Radio
     FM Radio
     Stereo
     Search/Seek
     CD Player
     Steering Wheel Touch Controls
     Auxiliary Audio Connection
     Premium Radio
     Satellite Radio
     Aluminum/Alloy Wheels
     Drivers Side Air Bag
     Passenger Air Bag
     Anti-lock Brakes (4)
     4-wheel Disc Brakes

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                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




             Previous Valuation
     Options                                Loss    Previous
                                           Vehicle Valuation 1

     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint

     Value                                                   $ 8,437

     Adjustments:

     Adjusted Comparable Value                               $ 8,437




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                                       #:2477


                                                                                                Owner: Sigler, John
                                                                                                Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2   **Comp 3
                                                                                                Comp 1        Updated Date: 01/05/2020
                                           Vehicle
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        73,505           119,352    117,134   Gasoline Direct Injection
     Automatic Transmission                                                                     VIN 2G1WC5E3XD1259101
                                                                                                Dealership Car Depot
     Overdrive
                                                                                                Telephone (213) 725-2132
     Power Steering                                                                             Source Truecar
     Power Brakes                                                                               Stock # 259101
     Power Windows                                                                              Distance from La Mirada, CA
     Power Locks                                                                                17 Miles - Pasadena, CA
                                                                                                Comp 2        Updated Date: 03/08/2020
     Power Mirrors
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                          Gasoline Direct Injection
     Power Passenger Seat                                                                       VIN 2G1WC5E36D1141384
     Power Trunk/Gate Release                                                                   Dealership Laguna Motors
     Air Conditioning                                                                           Telephone (714) 742-4759
                                                                                                Source Truecar
     Climate Control
                                                                                                Stock # LM01216
     Tilt Wheel                                                                                 Distance from La Mirada, CA
     Cruise Control                                                                             31 Miles - Laguna Niguel, CA
     Rear Defogger                                                                              Comp 3        Updated Date: 03/08/2020
     Intermittent Wipers                                                                        2013 Chevrolet Impala Ltz 6 3.6l
                                                                                                Gasoline Direct Injection
     Console/Storage
                                                                                                VIN 2G1WC5E30D1219450
     Keyless Entry                                                                              Dealership Advantage Auto Ctr
     Message Center                                                                             Telephone (909) 795-7990
     Home Link                                                                                  Source Truecar
     Remote Starter                                                                             Stock # 219450
                                                                                                Distance from La Mirada, CA
     Wood Interior Trim
                                                                                                48 Miles - Redlands, CA
     Bucket Seats
     Leather Seats                                                                              Comparable vehicles used in the
                                                                                                determination of the Base Vehicle Value
     Heated Seats
                                                                                                are not intended to be replacement
     AM Radio                                                                                   vehicles but are reflective of the market
     FM Radio                                                                                   value, and may no longer be available
     Stereo                                                                                     for sale.
     Search/Seek
                                                                                                List Price is the sticker price of an
     CD Player                                                                                  inspected dealer vehicle and the
     Steering Wheel Touch Controls                                                              advertised price for the advertised
     Auxiliary Audio Connection                                                                 vehicle.

     Premium Radio                                                                              Distance is based upon a straight line
     Satellite Radio                                                                            between loss and comparable vehicle
     Aluminum/Alloy Wheels                                                                      locations.
     Electric Glass Roof                                                                        **Because the loss vehicle was recently
     Drivers Side Air Bag                                                                       valued, the comparable vehicle(s) were
     Passenger Air Bag                                                                          added for informational purposes and
     Anti-lock Brakes (4)

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                                       #:2478


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                           7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2     **Comp 3     were not used to determine the Base
                                           Vehicle                                                  Vehicle Value.

     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 7,795         $ 6,500      $ 6,995

     Adjustments:
                         Options                                             - $ 400
                         Mileage                             + $ 183       + $ 2,029    + $ 1,960


     Adjusted Comparable Value                               $ 7,978         $ 8,129      $ 8,955


     Options                                Loss        **Comp 4
                                                                                                    Comp 4        Updated Date: 03/08/2020
                                           Vehicle
                                                                                                    2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        121,412                                   Gasoline Direct Injection
     Automatic Transmission                                                                         VIN 2G1WC5E36D1242375
                                                                                                    Dealership Advantage Auto Ctr
     Overdrive
                                                                                                    Telephone (909) 795-7990
     Power Steering                                                                                 Source Truecar
     Power Brakes                                                                                   Stock # 242375
     Power Windows                                                                                  Distance from La Mirada, CA
     Power Locks                                                                                    48 Miles - Redlands, CA

     Power Mirrors                                                                                  Comparable vehicles used in the
     Power Driver Seat                                                                              determination of the Base Vehicle Value
     Power Passenger Seat                                                                           are not intended to be replacement
                                                                                                    vehicles but are reflective of the market
     Power Trunk/Gate Release
                                                                                                    value, and may no longer be available
     Air Conditioning                                                                               for sale.
     Climate Control

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                                                                               Owner: Sigler, John
                                                                               Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 4
                                                                               List Price is the sticker price of an
                                           Vehicle
                                                                               inspected dealer vehicle and the
     Tilt Wheel                                                                advertised price for the advertised
                                                                               vehicle.
     Cruise Control
     Rear Defogger                                                             Distance is based upon a straight line
     Intermittent Wipers                                                       between loss and comparable vehicle
                                                                               locations.
     Console/Storage
     Keyless Entry                                                             **Because the loss vehicle was recently
     Message Center                                                            valued, the comparable vehicle(s) were
     Home Link                                                                 added for informational purposes and
                                                                               were not used to determine the Base
     Remote Starter
                                                                               Vehicle Value.
     Wood Interior Trim
     Bucket Seats
     Leather Seats
     Heated Seats
     AM Radio
     FM Radio
     Stereo
     Search/Seek
     CD Player
     Steering Wheel Touch Controls
     Auxiliary Audio Connection
     Premium Radio
     Satellite Radio
     Aluminum/Alloy Wheels
     Electric Glass Roof
     Drivers Side Air Bag
     Passenger Air Bag
     Anti-lock Brakes (4)
     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps


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                                                                               Owner: Sigler, John
                                                                               Claim:                   7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 4
                                           Vehicle

     Rear Spoiler
     Clearcoat Paint
     Metallic Paint


     List Price                                              $ 6,995

     Adjustments:
                       Options                               - $ 400
                       Mileage                             + $ 2,089


     Adjusted Comparable Value                               $ 8,684




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                                       #:2481


                                                                                                       Owner: Sigler, John
                                                                                                       Claim:                            7001




             COMPARABLE VEHICLES
            COMPARABLE VEHICLE SUMMARY                                                                 The vehicle value is based solely on
                                                                                                       CCC's recent previous valuation of this
         Source              Comparable Vehicle                             Price     Adjusted Comp
                                                                                                       vehicle, reflecting the current inspection
                                                                                               Value   information provided by USAA
                                                                                                       CASUALTY INSURANCE COMPANY .
         Prior Valuation     2013 Chevrolet Impala                        $ 8,437            $ 8,437
                                                                                                       Adjustments may have been made
                             Ltz 6 3.6l Gasoline Direct                   (Value)
                                                                                                       where the current information differs
                             Injection
                                                                                                       from that provided to CCC regarding
                                                                                                       the previous valuation. The comparable
    ** 1 Verified            2013 Chevrolet Impala                        $ 7,795            $ 7,978
                                                                                                       vehicles are presented for information
                             Ltz 6 3.6l Gasoline Direct                      (List)
                                                                                                       purposes only.
                             Injection
                                                                                                       **Because the loss vehicle was recently
    ** 2 Verified            2013 Chevrolet Impala                        $ 6,500            $ 8,129
                                                                                                       valued, the comparable vehicle(s) were
                             Ltz 6 3.6l Gasoline Direct                      (List)                    added for informational purposes and
                             Injection                                                                 were not used to determine the Base
                                                                                                       Vehicle Value
    ** 3 Verified            2013 Chevrolet Impala                        $ 6,995            $ 8,955
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 4 Verified            2013 Chevrolet Impala                        $ 6,995            $ 8,684
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

         Base Vehicle Value                                         $ 8,437.00




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                                                                                            Owner: Sigler, John
                                                                                            Claim:                         7001




             VALUATION NOTES
    This Market Valuation Report has been prepared exclusively for use by USAA CASUALTY     Regulations concerning vehicle value
    INSURANCE COMPANY, and no other person or entity is entitled to or should rely upon     include California Code of Regulations
    this Market Valuation Report and/or any of its contents. CCC is one source of vehicle   10 CA ADC 2695.
    valuations, and there are other valuation sources available.




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                                                                                                 Owner: Sigler, John
                                                                                                 Claim:                                7001


    SUPPLEMENTAL INFORMATION
                                                                                                 CCC provides USAA CASUALTY
                EXPERIAN® AUTOCHECK® VEHICLE HISTORY REPORT
                                                                                                 INSURANCE COMPANY information
                                                                                                 reported by Experian regarding
     TITLE CHECK                                 RESULTS FOUND                                   the 2013 Chevrolet Impala
                                                                                                 (2G1WC5E3XD1155837). This data is
     Abandoned                                     No Abandoned Record Found
                                                                                                 provided for informational purposes. Unless
     Damaged                                       No Damaged Record Found                       otherwise noted in this Valuation Detail,
     Fire Damage                                   No Fire Damage Record Found                   CCC does not adjust the value of the loss
     Grey Market                                                                                 vehicle based upon this information.
                                                   No Grey Market Record Found
     Hail Damage                                   No Hail Damage Record Found                   LEGEND :

     Insurance Loss                                                                                 No Event Found
                                                   No Insurance Loss Record Found
                                                                                                    Event Found
     Junk                                          No Junk Record Found
                                                                                                    Information Needed
     Rebuilt                                       No Rebuilt Record Found
     Salvage                                                                                     TITLE CHECK
                                                   No Salvage Record Found
                                                                                                 THIS VEHICLE CHECKS OUT
     EVENT CHECK                                 RESULTS FOUND                                   AutoCheck's result for this loss vehicle

     NHTSA Crash Test Vehicle                                                                    show no significant title events. When
                                                   No NHTSA Crash Test Vehicle Record Found
                                                                                                 found, events often indicate automotive
     Frame Damage                                  No Frame Damage Record Found                  damage or warnings associated with the
     Major Damage Incident                         No Major Damage Incident Record Found         vehicle.
     Manufacturer Buyback/Lemon                    No Manufacturer Buyback/Lemon Record Found    EVENT CHECK
     Odometer Problem                              No Odometer Problem Record Found              THIS VEHICLE CHECKS OUT
     Recycled                                      No Recycled Record Found                      AutoCheck's result for this loss vehicle
     Water Damage                                                                                show no historical events that indicate
                                                   No Water Damage Record Found
                                                                                                 a significant automotive problem. These
     Salvage Auction                               No Salvage Auction Record Found
                                                                                                 problems can indicate past previous

     VEHICLE INFORMATION                         RESULTS FOUND                                   car damage, theft, or other significant
                                                                                                 problems.
     Accident                                      No Accident Record Found
                                                                                                 VEHICLE INFORMATION
     Corrected Title                               No Corrected Title Record Found
                                                                                                 INFORMATION FOUND
     Driver Education                              No Driver Education Record Found              AutoCheck found additional information
     Fire Damage Incident                          No Fire Damage Incident Record Found          on this vehicle. These records will provide
     Lease                                         No Lease Record Found                         more history for this loss vehicle

     Lien                                          No Lien Record Found                          ODOMETER CHECK
     Livery Use                                    No Livery Use Record Found                    THIS VEHICLE CHECKS OUT

     Government Use                                                                              AutoCheck's result for this loss vehicle
                                                   No Government Use Record Found
                                                                                                 show no indication of odometer rollback
     Police Use                                    No Police Use Record Found
                                                                                                 or tampering was found. AutoCheck
     Fleet                                         No Fleet Record Found                         determines odometer rollbacks by
     Rental                                        Rental Record Found                           searching for records that indicate
     Fleet and/or Rental                                                                         odometer readings less than a previously
                                                   Fleet and/or Rental Record Found
                                                                                                 reported value. Other odometer events
     Repossessed                                   No Repossessed Record Found
                                                                                                 can report events of tampering, or possible
     Taxi use                                      No Taxi use Record Found                      odometer breakage.
     Theft                                         No Theft Record Found
     Fleet and/or Lease                            No Fleet and/or Lease Record Found
     Emissions Safety Inspection                   No Emissions Safety Inspection Record Found
     Duplicate Title                               No Duplicate Title Record Found

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                                                                                                                                   Owner: Sigler, John
                                                                                                                                   Claim:                               7001


    SUPPLEMENTAL INFORMATION
               FULL HISTORY REPORT RUN DATE: 03/10/2020

      Below are the historical events for this vehicle listed in chronological order.

    EVENT             RESULTS                              ODOMETER             DATA                                EVENT
    DATE              FOUND                                  READING            SOURCE                              DETAIL

    09/26/2012        CA                                                10      Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    09/26/2012        CA                                                        Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    09/26/2012        CA                                                        Motor Vehicle Dept.                 TITLED OR REGISTERED
                                                                                                                    AS A RENTAL VEHICLE,
                                                                                                                    OR PART OF A RENTAL
                                                                                                                    FLEET
    10/05/2012        CA                                                        Motor Vehicle Dept.                 TITLE
    09/17/2013        MONTEBELLO, CA                               19429        Dealer Record                       VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/20/2013        CA                                                        GM Certified Data                   GM APPROVED
                                                                                                                    CERTIFIED PRE-OWNED
                                                                                                                    VEHICLE
    09/20/2013        MONTEBELLO, CA                                            GM Certified Data                   VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/22/2013        CA                                           19438        Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    10/14/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    10/23/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 TITLE
    07/23/2014                                                                  Manufacturer                        MANUFACTURER
                                                                                                                    RECALL
    11/27/2017        LA MIRADA, CA                                             Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL

    AUTOCHECK TERMS AND CONDITIONS:

    Experian's Reports are compiled from multiple sources. It is not always possible for Experian to obtain complete discrepancy information on all vehicles; therefore, there may
    be other title brands, odometer readings or discrepancies that apply to a vehicle that are not reflected on that vehicle's Report. Experian searches data from additional sources
    where possible, but all discrepancies may not be reflected on the Report.


    These Reports are based on information supplied to Experian by external sources believed to be reliable, BUT NO RESPONSIBILITY IS ASSUMED BY EXPERIAN OR
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    A PARTICULAR PURPOSE REGARDING THIS REPORT.


    YOU AGREE TO INDEMNIFY EXPERIAN FOR ANY CLAIMS OR LOSSES, INCLUDING COSTS, EXPENSES AND ATTORNEYS FEES, INCURRED BY EXPERIAN
    ARISING DIRECTLY OR INDIRECTLY FROM YOUR IMPROPER OR UNAUTHORIZED USE OF AUTOCHECK VEHICLE HISTORY REPORTS.




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                                                                                                                                       Owner: Sigler, John
                                                                                                                                       Claim:                                7001


    SUPPLEMENTAL INFORMATION
    Experian shall not be liable for any delay or failure to provide an accurate report if and to the extent which such delay or failure is caused by events beyond the reasonable
    control of Experian, including, without limitation, "acts of God", terrorism, or public enemies, labor disputes, equipment malfunctions, material or component shortages,
    supplier failures, embargoes, rationing, acts of local, state or national governments, or public agencies, utility or communication failures or delays, fire, earthquakes, flood,
    epidemics, riots and strikes.


    These terms and the relationship between you and Experian shall be governed by the laws of the State of Illinois (USA) without regard to its conflict of law provisions. You and
    Experian agree to submit to the personal and exclusive jurisdiction of the courts located within the county of Cook, Illinois.




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                                                                                  EXHIBIT C                                           USAA-SIGLER_000406
                                                                                     97
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                                       #:2486


                                                                                                      Owner: Sigler, John
                                                                                                      Claim:                          7001


    SUPPLEMENTAL INFORMATION
                                                                                                     The National Highway Traffic Safety
           NHTSA VEHICLE RECALL                                                                      Administration has issued 1 safety related
                                                                                                     recall notices that may apply to the above
                                                                                                     valued vehicle.
    NHTSA Campaign ID : 14V355000
    Mfg's Report Date : JUN 23, 2014
    Component : ELECTRICAL SYSTEM
    Potential Number Of Units Affected : 3,141,731
    Summary : This defect can affect the safe operation of the airbag system. Until this
    recall is performed, customers should remove all items from their key rings, leaving only
    the ignition key. The key fob (if applicable), should also be removed from the key ring.
    General Motors LLC (GM) is recalling certain model year 2005-2009 Buick LaCrosse,
    2006-2011 Buick Lucerne, 2000-2005 Cadillac DeVille, 2006-2011 Cadillac DTS,
    2006-2014 Chevrolet Impala, and 2006-2007 Chevrolet Monte Carlo vehicles. In the
    affected vehicles, the weight on the key ring and road conditions or some other jarring
    event may cause the ignition switch to move out of the run position, turning off the engine.
    Consequence : If the key is not in the run position, the air bags may not deploy if the
    vehicle is involved in a crash, increasing the risk of injury. Additionally, a key knocked out
    of the run position could cause loss of engine power, power steering, and power braking,
    increasing the risk of a vehicle crash.
    Remedy : GM will notify owners, and dealers will install two 13mm key rings and key
    insert into the vehicle's ignition keys, free of charge. The manufacturer has not yet
    provided a notification schedule. Owners may contact General Motors customer service
    at 1-800-521-7300 (Buick), 1-800-458-8006 (Cadillac), and 1-800-222-1020 (Chevrolet).
    GM's number for this recall is 14299.
    Notes : Owners may also contact the National Highway Traffic Safety Administration
    Vehicle Safety Hotline at 1-888-327-4236 (TTY 1-800-424-9153), or go to
    www.safercar.gov.




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           EXHIBIT D
                                 EXHIBIT D
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                                       #:2488




      From: USAA Claims<54zqmpx88pxq@claims.usaa.com>

      Sent: Friday, March 27, 2020 10:03 AM

      To: jwsigler@sws-llc.com


      Subject: Take Next Steps for USAA Total Loss Payment




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                                     EXHIBIT D            USAA-SIGLER_000684
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       Thank you for agreeing to accept messages and documents electronically for the duration of this
       claim. Here are the terms and conditions for electronic communication with you.

       USAA Reference Number:             616 - 7

       Dear Mr. Sigler,


       Please see attached for additional information.

       You may reply to this message. If you need to provide documentation, you can attach documents
       to your email. We cannot guarantee the security of any medical, financial or other personally
       identifiable information sent by email.

       [08524:041:85]



                                  USAA, 9800 Fredericksburg Road, San Antonio, Texas, 78288




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                                                     EXHIBIT D                                USAA-SIGLER_000685
                                                       101
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                    USAA Casualty Insurance Company
                                                                  NEXT STEPS FOR YOUR
                                                                  TOTAL LOSS PAYMENT

      JOHN W SIGLER

      LA MIRADA CA




             Take Next Steps for Your Total Loss Payment

    March 27, 2020

    Dear Mr. Sigler,

    Your total loss payment has been calculated based on your decision to transfer your vehicle ownership and is now ready.
    Your claim payment will be issued once we have all signed forms.

    Ownership of Your Vehicle Will Transfer to USAA
    After the transfer is completed, we’ll sell the vehicle at auction, and you’ll no longer have the right to access, inspect or
    use the vehicle as evidence in any legal action. Also, we want to remind you to remove any belongings you may have in
    the vehicle as soon as possible.

    Claim Information Enclosed for Your Records
    We’ve enclosed the following documents:

        ·   An information sheet with details about your claim and payment amount based on our agreement with you. The
            sheet also includes important information from your state.
        ·   Our Total Loss Valuation, which is our assessment of the vehicle’s damages.

    Please keep these documents for your records.

    You have the right to appraisal under your insurance policy which states:

    DEFINITIONS

    A. "You" and "your" refer to the "named insured" shown on the Declarations and spouse or registered domestic partner if
    a resident of the same household.

    B. "We," "us," and "our" refer to the Company providing this insurance.

    O. "Your covered auto" means:

    1. Any vehicle shown on the Declarations.
    2. Any newly acquired vehicle.
    3. Any trailer you own.


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    PART D - PHYSICAL DAMAGE COVERAGE

    DEFINITIONS

    A. "Actual cash value" means the amount that it would cost, at the time of loss, to buy a comparable vehicle. As applied
    to your covered auto, a comparable vehicle is one of the same make, model, model year, body type, and options with
    substantially similar mileage and physical condition

    APPRAISAL

    If we and you do not agree on the amount of loss, either may demand an appraisal. In this event, each party will select a
    competent appraiser. The two appraisers will select an umpire. The appraisers will state separately the
    actual cash value and the amount of loss. If they fail to agree, they will submit their differences to the umpire. A decision
    agreed to by any two will be binding. Each party will pay its chosen appraiser and share the expenses of
    the umpire equally. Neither we nor you waive any rights under this policy by agreeing to an appraisal.

    As you have indicated your intent to exercise your rights to appraisal, USAA will proceed with the appraisal process once
    a letter of representation is received from your chosen appraiser. USAA will issue payment on the undisputed amount of
    the settlement upon receipt of negotiable paperwork. Upon appraisal clause completion the difference will be issued.

    How to Contact Us
    Please send any correspondence or questions to us using one of the following options and include the claim/reference
    number above on each page:

                         usaa.com or our mobile app:      Upload documents or post a secure message to your claim file
                                                          through the Claim Communication Center.

                         Address:                         USAA Claims Department
                                                          P.O. Box 33490
                                                          San Antonio, TX 78265

                         Fax:                             1-800-531-8669

                         Phone:                           210-531-USAA (8722), our mobile shortcut #8722 or
                                                          800-531-8722.

    Thank you,
    USAA Total Theft/Fire Department
    USAA Casualty Insurance Company

    Enclosed:     Claim, Payment And State Information
                  Valuation Estimate
                  Initial Estimate IMPERIAL BODY SHOP

    cc : John W Sigler




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                                                            EXHIBIT D                            USAA-SIGLER_000687
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                                        #:2492


                    USAA Casualty Insurance Company                             CLAIM AND PAYMENT
                                                                                      INFORMATION


    Following are details about your claim and claim payment:

    Claim:

             Registered owner:                        John W Sigler
             USAA policyholder:                       John W Sigler
             Claim number:                                     6–007
             Loss location:                           Costa Mesa, CA
             Date of loss:                            February 28, 2020
             Vehicle information:                     2013 CHEVROLET IMPALA 4D LTZ
             VIN:                                     2G1WC5E3XD1155837

    Payment:

             Vehicle’s actual cash value:             $8,872.00
             Sales tax:                               $842.84
             Partial or Prior Payments:               $0.00
             CA CVR Fees:                             $214.00
             Collision Deductible:                    $0.00
             Net Total:                               $9,928.84

                                            Important Information from the state of CA

    If you cannot purchase a comparable vehicle for the gross settlement amount within 35 days of receipt of the final settlement
    amount, please contact us and we will reopen the file.




                                                                                                                      126309-0120
                                                                                                                        Page 1 of 1



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                                                         EXHIBIT D                           USAA-SIGLER_000688
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                                        #:2493




                                                                                                                           Prepared for USAA


             REPORT SUMMARY
                                                                                                  The CCC ONE® Market Valuation
           CLAIM INFORMATION                                                                      Report reflects CCC Information
                                                                                                  Services Inc.’s opinion as to the value
     Owner                                                  Sigler, John
                                                                                                  of the loss vehicle, based on information
                                                                                                  provided to CCC by USAA.
                                                            La Mirada, CA
     Loss Vehicle                                           2013 Chevrolet Impala LTZ             Loss vehicle has 33% fewer than
                                                                                                  average mileage of 99,000.
     Loss Incident Date                                     02/28/2020
     Claim Reported                                         03/10/2020



            INSURANCE INFORMATION
     Report Reference Number                                96832839
     Claim Reference                                                             7001
     Adjuster                                               Bushnell, Danelle
     Appraiser                                              Galvez, Pablo
     Odometer                                               66,632
     Last Updated                                           03/23/2020 01:58 PM


                                                                                                            BASE VEHICLE VALUE
            VALUATION SUMMARY                                                                     This is derived per our Valuation
                                                                                                  methodology described on the next
     Base Vehicle Value                                                    $ 8,837.00             page.
     Refurbishments                                                          + $ 35.00
                                                                                                        ADJUSTED VEHICLE VALUE
     Adjusted Vehicle Value                                                $ 8,872.00
                                                                                                  This is determined by adjusting the
     Vehicular Tax (9.5%)                                                   + $ 842.84
                                                                                                  Base Vehicle Value to account for the
     Tax reflects applicable state, county and municipal
                                                                                                  actual condition of the loss vehicle and
     taxes.
                                                                                                  certain other reported attributes, if any,
                                                                                                  such as refurbishments and after factory
     Total                                                        $ 9,714.84                      equipment.


    The total may not represent the total of the settlement as other factors (e.g. license and
                                                                                                 Inside the Report
    fees) may need to be taken into account.
                                                                                                 Valuation Methodology............................. 2
                                                                                                 Vehicle Information...................................3
                                                                                                 Vehicle Condition......................................6
                                                                                                 Previous Valuation....................................8
                                                                                                 Comparable Vehicles............................. 10
                                                                                                 Valuation Notes...................................... 16
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                                        #:2494


                                                                                                          Owner: Sigler, John
                                                                                                          Claim:                       7001



    VALUATION METHODOLOGY
    How was the valuation determined?



                                        CLAIM INSPECTION
                                        USAA has provided CCC with the zip code where the loss vehicle is garaged, loss vehicle VIN,
                                        mileage, equipment, as well as loss vehicle condition, which is used to assist in determining the value
                                        of the loss vehicle.




                                                                          DATABASE REVIEW
                                                                          CCC maintains an extensive database of vehicles that currently are
                                                                          or recently were available for sale in the U.S. This database includes
                                                                          vehicles advertised for sale by dealerships or private parties. CCC
                                                                          also obtains vehicle sales prices from a database of California
                                                                          Department of Motor Vehicles vehicle registration sold transactions.
                                                                          All of these sources are updated regularly.




    SEARCH FOR COMPARABLES
    When a valuation is created the database is searched and
    comparable vehicles in the area are selected. The zip code
    where the loss vehicle is garaged determines the starting point
    for the search. Comparable vehicles are similar to the loss
    vehicle based on relevant factors.
    Because the loss vehicle was recently valued, the comparable
    vehicle(s) were added for informational purposes and were not
    used to determine the Base Vehicle Value.

    CALCULATE BASE VEHICLE VALUE
    The Base Vehicle Value is based on CCC’s recent previous valuation of this vehicle
    reflecting the current inspection information provided by USAA. Adjustments may have
    been made where the current information differs from that provided to CCC regarding the
    previous valuation, such as differences in mileage, options, and additional equipment.
    Dollar adjustments are based upon market research.




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                                        #:2495


                                                                                               Owner: Sigler, John
                                                                                               Claim:                            7001




                VEHICLE INFORMATION
     VEHICLE DETAILS
                                                                                               Vehicles sold in the United States
     Location                                  LA MIRADA, CA 90638                             are required to have a manufacturer
                                                                                               assigned Vehicle Identification
     VIN                                       2G1WC5E3XD1155837
                                                                                               Number(VIN). This number provides
     Year                                      2013                                            certain specifications of the vehicle.
     Make                                      Chevrolet
                                                                                               Please review the information in the
     Model                                     Impala                                          Vehicle Information Section to confirm
     Trim                                      LTZ                                             the reported mileage and to verify that
                                                                                               the information accurately reflects the
     Body Type                                 Sedan
                                                                                               options, additional equipment or other
     Engine -                                                                                  aspects of the loss vehicle that may
           Cylinders                           6                                               impact the value.

           Displacement                        3.6L
           Fuel Type                           Gasoline
           Carburation                         Direct Injection
     Transmission                              Automatic Transmission Overdrive
     Curb Weight                               3649 lbs


     VEHICLE HISTORY SUMMARY                                                                   Using the VIN for this vehicle,
                                                                                               VINguard® detected discrepancies
     CCC VINguard®                 1 Possible Total Loss                                       or prior history requiring additional
                                                                                               research.
                                   1 Collision Estimate                           03/10/2020
     Experian AutoCheck            No Title Problem Found                                      See Supplemental Information section
                                                                                               for additional details.
     National Highway Traffic      1 Recall
     Safety Administration




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                                        #:2496


                                                                               Owner: Sigler, John
                                                                               Claim:                           7001




               VEHICLE INFORMATION
     VEHICLE EQUIPMENT
                                                                               To the left is the equipment of the loss
     Odometer                      66,632                                      vehicle that USAA provided to CCC.

     Transmission                  Automatic Transmission                         Standard This equipment is
                                                                                  included in the base configuration of
                                   Overdrive
                                                                                  the vehicle at time of purchase.
     Power                         Power Steering
                                                                                  Additional Equipment that is not
                                   Power Brakes
                                                                                  Standard but was noted to be on the
                                   Power Windows                                  loss vehicle.

                                   Power Locks

                                   Power Mirrors

                                   Power Driver Seat

                                   Power Passenger Seat

                                   Power Trunk/Gate Release

     Decor/Convenience             Air Conditioning

                                   Climate Control

                                   Tilt Wheel

                                   Cruise Control

                                   Rear Defogger

                                   Intermittent Wipers

                                   Console/Storage

                                   Keyless Entry

                                   Message Center

                                   Home Link

                                   Remote Starter

                                   Wood Interior Trim

     Seating                       Bucket Seats

                                   Leather Seats

                                   Heated Seats

     Radio                         AM Radio

                                   FM Radio

                                   Stereo

                                   Search/Seek

                                   CD Player

                                   Steering Wheel Touch Controls


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                                        #:2497


                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




              VEHICLE INFORMATION
     VEHICLE EQUIPMENT

                                   Auxiliary Audio Connection

                                   Premium Radio

                                   Satellite Radio

     Wheels                        Aluminum/Alloy Wheels

     Roof                          Electric Glass Roof

     Safety/Brakes                 Air Bag (Driver Only)

                                   Passenger Air Bag

                                   Anti-lock Brakes (4)

                                   4-wheel Disc Brakes

                                   Front Side Impact Air Bags

                                   Head/Curtain Air Bags

                                   Communications System

                                   Hands Free

                                   Alarm

                                   Traction Control

                                   Stability Control

     Exterior/Paint/Glass          Dual Mirrors

                                   Heated Mirrors

                                   Body Side Moldings

                                   Tinted Glass

                                   Fog Lamps

                                   Rear Spoiler

                                   Clearcoat Paint

                                   Metallic Paint




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                                        #:2498


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                            7001




             VEHICLE CONDITION/REFURBISHMENTS
     COMPONENT CONDITION
                                                                                                    USAA uses condition inspection
                     Condition            Inspection Notes/Typical Vehicle           Value Impact   guidelines to rate the condition of key
                                          Description                                               components of the loss vehicle on a
                                                                                                    three-point scale. A rating of average
     Mechanical      AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    condition results in a valuation of that
                                          Engine: Minor to no seepage. Belts and
                                                                                                    component that is consistent with typical
                                          hoses firm, show minimal wear. Minimal                    vehicles for that year, make and model
                                          dirt and grease in engine compartment.                    of vehicle. If a component is rated in
                                          Transmission: Fluid slightly discolored.                  exceptional condition, then a positive
                                          None to a few areas of seepage.                           monetary adjustment is made to reflect
                                                                                                    the impact of that condition level on the
     Tires           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    value of the loss vehicle. Similarly, if a
                                          Rear Tires: 41% to 90% of new.
                                                                                                    component is rated in below average
                                          Example: Typical new car tires are
                                                                                                    condition, then a negative monetary
                                          11/32, loss measures at 5/32 = 46%                        adjustment is made to reflect the impact
                                          (5/11)                                                    of that condition level on the value of the
                                          Front Tires: 41% to 90% of new.                           loss vehicle. Inspection Notes, if any,
                                          Example: Typical new car tires are                        reflect additional observations from the
                                          11/32, loss measures at 5/32 = 46%                        appraiser regarding the loss vehicle's
                                          (5/11)                                                    condition. Monetary adjustments are
                                                                                                    based upon market research consisting
     Paint           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    of data gathered from dealerships in
                                          A few small to minimal deep surface                       California.
                                          chips and/or scratches. No significant
                                                                                                    CCC makes dollar adjustments that
                                          peeling and/or flaking. Minor swirl
                                                                                                    reflect the impact the reported condition
                                          marks. Slight to no Fading.
                                                                                                    has on the value of the loss vehicle as
     Body            AVERAGE              Typical Vehicle Desc:                             $0      compared to Average condition. These
                                          Sheet Metal: Few to no dents. Few to                      dollar adjustments are based upon
                                          numerous dings. No significant to no                      interviews with dealerships across the
                                          surface rust.                                             United States.
                                          Trim: Minimal damage to components.
                                                                                                    USAA also identifies the after factory
                                          No missing components. A few to zero
                                                                                                    options and upkeep dollars invested
                                          dents. Numerous to a few dings.                           into the loss vehicle that were brought
     Glass           AVERAGE              Typical Vehicle Desc:                             $0      to its attention. CCC makes dollar
                                          Light surface scratches and/or pitting.                   adjustments that reflect the impact, if
                                          Few to no chips.                                          any, these items have on the value of the
                                                                                                    vehicle. The total of these adjustments
                                                                                                    is shown in the Valuation Summary as
                                                                                                    Refurbishments.




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                                                                                                     Owner: Sigler, John
                                                                                                     Claim:                 7001




                VEHICLE CONDITION/REFURBISHMENTS
     COMPONENT CONDITION

                     Condition            Inspection Notes/Typical Vehicle            Value Impact
                                          Description

     Interior        AVERAGE              Typical Vehicle Desc:                              $0
                                          Headliner: A few small to no holes and/
                                          or burn marks. No significant scuffing to
                                          lightly scuffed.
                                          Dashboard: A few small to no
                                          scratches and/or gouges. Minimal
                                          damage to firmly intact components.
                                          Light to no significant wear.
                                          Carpets: Lightly soiled to clean and/
                                          or stained. None to a few small tears,
                                          holes and /or burn marks. None or no
                                          significant bare spots.
                                          Seats: Lightly soiled or clean, faded
                                          and/or discolored. None to no significant
                                          tears, holes and/or burn marks. None or
                                          no significant bare spots.

     Maintenance                          Purchase Price : $ 165.00                         $ 35
     Item

        Total Condition Adjustments                                                          $0




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                                                                               Owner: Sigler, John
                                                                               Claim:                           7001




              Previous Valuation
     Options                                Loss    Previous
                                                                               Comp 1       Updated Date: 03/10/2020
                                           Vehicle Valuation 1
                                                                               2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        66,632               Gasoline Direct Injection
     Automatic Transmission                                                    VIN 2G1WC5E3XD1155837
                                                                               Source Previous Valuation
     Overdrive
     Power Steering                                                            Previous Valuation means that the
     Power Brakes                                                              loss vehicle was recently valued. The
                                                                               details shown in this section reflect the
     Power Windows
                                                                               odometer and any differences in vehicle
     Power Locks                                                               configuration provided by the insurer
     Power Mirrors                                                             as compared to the previous valuation.
     Power Driver Seat                                                         The loss vehicle is being valued based
     Power Passenger Seat                                                      on this previous valuation, adjusted
                                                                               to reflect any differences in reported
     Power Trunk/Gate Release
                                                                               attributes.
     Air Conditioning
     Climate Control
     Tilt Wheel
     Cruise Control
     Rear Defogger
     Intermittent Wipers
     Console/Storage
     Keyless Entry
     Message Center
     Home Link
     Remote Starter
     Wood Interior Trim
     Bucket Seats
     Leather Seats
     Heated Seats
     AM Radio
     FM Radio
     Stereo
     Search/Seek
     CD Player
     Steering Wheel Touch Controls
     Auxiliary Audio Connection
     Premium Radio
     Satellite Radio
     Aluminum/Alloy Wheels
     Electric Glass Roof
     Drivers Side Air Bag
     Passenger Air Bag
     Anti-lock Brakes (4)

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                                        #:2501


                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




             Previous Valuation
     Options                                Loss    Previous
                                           Vehicle Valuation 1

     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint

     Value                                                   $ 8,437

     Adjustments:
                         Options                             + $ 400


     Adjusted Comparable Value                               $ 8,837




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                                        #:2502


                                                                                                Owner: Sigler, John
                                                                                                Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2   **Comp 3
                                                                                                Comp 1        Updated Date: 01/05/2020
                                           Vehicle
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        73,505           119,352    117,134   Gasoline Direct Injection
     Automatic Transmission                                                                     VIN 2G1WC5E3XD1259101
                                                                                                Dealership Car Depot
     Overdrive
                                                                                                Telephone (213) 725-2132
     Power Steering                                                                             Source Truecar
     Power Brakes                                                                               Stock # 259101
     Power Windows                                                                              Distance from La Mirada, CA
     Power Locks                                                                                17 Miles - Pasadena, CA
                                                                                                Comp 2        Updated Date: 03/08/2020
     Power Mirrors
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                          Gasoline Direct Injection
     Power Passenger Seat                                                                       VIN 2G1WC5E36D1141384
     Power Trunk/Gate Release                                                                   Dealership Laguna Motors
     Air Conditioning                                                                           Telephone (714) 742-4759
                                                                                                Source Truecar
     Climate Control
                                                                                                Stock # LM01216
     Tilt Wheel                                                                                 Distance from La Mirada, CA
     Cruise Control                                                                             31 Miles - Laguna Niguel, CA
     Rear Defogger                                                                              Comp 3        Updated Date: 03/08/2020
     Intermittent Wipers                                                                        2013 Chevrolet Impala Ltz 6 3.6l
                                                                                                Gasoline Direct Injection
     Console/Storage
                                                                                                VIN 2G1WC5E30D1219450
     Keyless Entry                                                                              Dealership Advantage Auto Ctr
     Message Center                                                                             Telephone (909) 795-7990
     Home Link                                                                                  Source Truecar
     Remote Starter                                                                             Stock # 219450
                                                                                                Distance from La Mirada, CA
     Wood Interior Trim
                                                                                                48 Miles - Redlands, CA
     Bucket Seats
     Leather Seats                                                                              Comparable vehicles used in the
                                                                                                determination of the Base Vehicle Value
     Heated Seats
                                                                                                are not intended to be replacement
     AM Radio                                                                                   vehicles but are reflective of the market
     FM Radio                                                                                   value, and may no longer be available
     Stereo                                                                                     for sale.
     Search/Seek
                                                                                                List Price is the sticker price of an
     CD Player                                                                                  inspected dealer vehicle and the
     Steering Wheel Touch Controls                                                              advertised price for the advertised
     Auxiliary Audio Connection                                                                 vehicle.

     Premium Radio                                                                              Distance is based upon a straight line
     Satellite Radio                                                                            between loss and comparable vehicle
     Aluminum/Alloy Wheels                                                                      locations.
     Electric Glass Roof                                                                        **Because the loss vehicle was recently
     Drivers Side Air Bag                                                                       valued, the comparable vehicle(s) were
     Passenger Air Bag                                                                          added for informational purposes and
     Anti-lock Brakes (4)

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                                        #:2503


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                         7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2     **Comp 3     were not used to determine the Base
                                           Vehicle                                                  Vehicle Value.

     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 7,795         $ 6,500      $ 6,995

     Adjustments:
                         Options                             + $ 400                      + $ 400
                         Mileage                             + $ 183       + $ 2,029    + $ 1,960


     Adjusted Comparable Value                               $ 8,378         $ 8,529      $ 9,355


     Options                                Loss        **Comp 4          **Comp       **Comp
                                                                                                    Comp 4       Updated Date: 03/08/2020
                                           Vehicle                          5 (*)        6 (*)
                                                                                                    2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        121,412          66,872       75,414      Gasoline Direct Injection
     Automatic Transmission                                                                         VIN 2G1WC5E36D1242375
                                                                                                    Dealership Advantage Auto Ctr
     Overdrive
                                                                                                    Telephone (909) 795-7990
     Power Steering                                                                                 Source Truecar
     Power Brakes                                                                                   Stock # 242375
     Power Windows                                                                                  Distance from La Mirada, CA
     Power Locks                                                                                    48 Miles - Redlands, CA
                                                                                                    Comp 5        Updated Date: 03/22/2020
     Power Mirrors
                                                                                                    2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                              Gasoline Direct Injection
     Power Passenger Seat                                                                           VIN 2G1WC5E33D1225727
     Power Trunk/Gate Release                                                                       Dealership M Motorsport
     Air Conditioning                                                                               Telephone (562) 494-7800
                                                                                                    Source Truecar
     Climate Control
                                                                                                    Stock # 2001727386

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                                        #:2504


                                                                                              Owner: Sigler, John
                                                                                              Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 4          **Comp    **Comp    Distance from La Mirada, CA
                                           Vehicle                          5 (*)     6 (*)   11 Miles - Long Beach, CA
                                                                                              Comp 6        Updated Date: 03/22/2020
     Tilt Wheel                                                                               2013 Chevrolet Impala Ltz 6 3.6l
     Cruise Control                                                                           Gasoline Direct Injection
     Rear Defogger                                                                            VIN 2G1WC5E39D1253337
                                                                                              Dealership Quantum Auto Sales -
     Intermittent Wipers
                                                                                              Garden Grove
     Console/Storage                                                                          Telephone (714) 265-0240
     Keyless Entry                                                                            Source Truecar
     Message Center                                                                           Stock # 19710
     Home Link                                                                                Distance from La Mirada, CA
                                                                                              10 Miles - Garden Grove, CA
     Remote Starter
     Wood Interior Trim                                                                       Comparable vehicles used in the
     Bucket Seats                                                                             determination of the Base Vehicle Value
                                                                                              are not intended to be replacement
     Leather Seats
                                                                                              vehicles but are reflective of the market
     Heated Seats                                                                             value, and may no longer be available
     AM Radio                                                                                 for sale.
     FM Radio
                                                                                              List Price is the sticker price of an
     Stereo
                                                                                              inspected dealer vehicle and the
     Search/Seek                                                                              advertised price for the advertised
     CD Player                                                                                vehicle.
     Steering Wheel Touch Controls
                                                                                              Distance is based upon a straight line
     Auxiliary Audio Connection                                                               between loss and comparable vehicle
     Premium Radio                                                                            locations.
     Satellite Radio
                                                                                              **Because the loss vehicle was recently
     Aluminum/Alloy Wheels                                                                    valued, the comparable vehicle(s) were
     Electric Glass Roof                                                                      added for informational purposes and
     Drivers Side Air Bag                                                                     were not used to determine the Base
     Passenger Air Bag                                                                        Vehicle Value.

     Anti-lock Brakes (4)                                                                       *The comparable vehicle was
     4-wheel Disc Brakes                                                                        added, for informational purposes,
     Front Side Impact Air Bags                                                                 and was not used to determine the
                                                                                                vehicle value.
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps


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                                                                                                  Owner: Sigler, John
                                                                                                  Claim:                           7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 4          **Comp      **Comp
                                           Vehicle                          5 (*)       6 (*)

     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 6,995        $ 8,999     $ 9,995

     Adjustments:
                        Mileage                            + $ 2,089          +$6       + $ 239


     Adjusted Comparable Value                               $ 9,084        $ 9,005    $ 10,234


     Options                                Loss         **Comp           **Comp      **Comp
                                                                                                  Comp 7        Updated Date: 02/23/2020
                                           Vehicle         7 (*)            8 (*)       9 (*)
                                                                                                  2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        95,858          65,192      95,392      Gasoline Direct Injection
     Automatic Transmission                                                                       VIN 2G1WC5E32D1248044
                                                                                                  Dealership Luxury Auto Lounge
     Overdrive
                                                                                                  Telephone (714) 317-8858
     Power Steering                                                                               Source Truecar
     Power Brakes                                                                                 Stock # 100496
     Power Windows                                                                                Distance from La Mirada, CA
     Power Locks                                                                                  16 Miles - Costa Mesa, CA
                                                                                                  Comp 8        Updated Date: 03/08/2020
     Power Mirrors
                                                                                                  2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                            Gasoline Direct Injection
     Power Passenger Seat                                                                         VIN 2G1WC5E37D1235127
     Power Trunk/Gate Release                                                                     Dealership Karplus Warehouse Inc.
     Air Conditioning                                                                             Telephone (888) 420-5280
                                                                                                  Source Autotrader
     Climate Control
                                                                                                  Stock # M235127
     Tilt Wheel                                                                                   Distance from La Mirada, CA
     Cruise Control                                                                               32 Miles - Van Nuys, CA
     Rear Defogger                                                                                Comp 9         Updated Date: 03/15/2020
     Intermittent Wipers                                                                          2013 Chevrolet Impala Ltz 6 3.6l
                                                                                                  Gasoline Direct Injection
     Console/Storage
                                                                                                  VIN 2G1WC5E31D1190878
     Navigation System                                                                            Dealership Mk Auto Club
     Keyless Entry                                                                                Telephone (951) 399-6886
     Message Center                                                                               Source Autotrader
     Home Link                                                                                    Stock # MK0878
                                                                                                  Distance from La Mirada, CA
     Remote Starter
                                                                                                  38 Miles - Riverside, CA
     Wood Interior Trim
     Bucket Seats                                                                                 Comparable vehicles used in the
                                                                                                  determination of the Base Vehicle Value
     Leather Seats
                                                                                                  are not intended to be replacement
     Heated Seats                                                                                 vehicles but are reflective of the market

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                                        #:2506


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss         **Comp           **Comp       **Comp       value, and may no longer be available
                                           Vehicle         7 (*)            8 (*)        9 (*)      for sale.

     AM Radio                                                                                       List Price is the sticker price of an
                                                                                                    inspected dealer vehicle and the
     FM Radio
                                                                                                    advertised price for the advertised
     Stereo                                                                                         vehicle.
     Search/Seek
                                                                                                    Distance is based upon a straight line
     CD Player
                                                                                                    between loss and comparable vehicle
     Steering Wheel Touch Controls
                                                                                                    locations.
     Auxiliary Audio Connection
     Premium Radio                                                                                  **Because the loss vehicle was recently
                                                                                                    valued, the comparable vehicle(s) were
     Satellite Radio
                                                                                                    added for informational purposes and
     Aluminum/Alloy Wheels                                                                          were not used to determine the Base
     Electric Glass Roof                                                                            Vehicle Value.
     Drivers Side Air Bag
                                                                                                      *The comparable vehicle was
     Passenger Air Bag                                                                                added, for informational purposes,
     Anti-lock Brakes (4)                                                                             and was not used to determine the
     4-wheel Disc Brakes                                                                              vehicle value.
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 5,299        $ 6,992      $ 5,491

     Adjustments:
                         Options                             + $ 400        + $ 133
                         Mileage                           + $ 1,038          - $ 34    + $ 1,015


     Adjusted Comparable Value                               $ 6,737        $ 7,091      $ 6,506




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                                                                                                       Owner: Sigler, John
                                                                                                       Claim:                          7001




             COMPARABLE VEHICLES
            COMPARABLE VEHICLE SUMMARY                                                                 The vehicle value is based solely
                                                                                                       on CCC's recent previous valuation
         Source              Comparable Vehicle                             Price     Adjusted Comp
                                                                                                       of this vehicle, reflecting the current
                                                                                               Value   inspection information provided by
                                                                                                       USAA . Adjustments may have been
         Prior Valuation     2013 Chevrolet Impala                        $ 8,437            $ 8,837
                                                                                                       made where the current information
                             Ltz 6 3.6l Gasoline Direct                   (Value)
                                                                                                       differs from that provided to CCC
                             Injection
                                                                                                       regarding the previous valuation. The
                                                                                                       comparable vehicles are presented for
    ** 1 Verified            2013 Chevrolet Impala                        $ 7,795            $ 8,378
                                                                                                       information purposes only.
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection                                                                 **Because the loss vehicle was recently
                                                                                                       valued, the comparable vehicle(s) were
    ** 2 Verified            2013 Chevrolet Impala                        $ 6,500            $ 8,529
                                                                                                       added for informational purposes and
                             Ltz 6 3.6l Gasoline Direct                      (List)                    were not used to determine the Base
                             Injection                                                                 Vehicle Value

    ** 3 Verified            2013 Chevrolet Impala                        $ 6,995            $ 9,355
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 4 Verified            2013 Chevrolet Impala                        $ 6,995            $ 9,084
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 5 Verified*           2013 Chevrolet Impala                        $ 8,999            $ 9,005
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 6 Verified*           2013 Chevrolet Impala                        $ 9,995           $ 10,234
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 7 Verified*           2013 Chevrolet Impala                        $ 5,299            $ 6,737
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 8 Verified*           2013 Chevrolet Impala                        $ 6,992            $ 7,091
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 9 Verified*           2013 Chevrolet Impala                        $ 5,491            $ 6,506
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

         Base Vehicle Value                                         $ 8,837.00




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                                        #:2508


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                         7001




             VALUATION NOTES
    03/23/2020 13:58 - Options added :[Electric Glass Roof]
                                                                                                    Regulations concerning vehicle value
    03/23/2020 13:58 - Post Valuation Adjustment entered for:                                       include California Code of Regulations
    03/23/2020 13:58 - ADJR Z03 CONFIGURATION CHANGE                                                10 CA ADC 2695.

    03/23/2020 13:58 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    03/23/2020 13:52 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    03/23/2020 13:49 - Refurbishments changed after request Disposed
    03/23/2020 13:49 - Refurbishment Maintenance Item Changed: Purchase Price Old: NIL
    Purchase Price New: $165.00 Date Old: NIL Date New: 02/01/2020

    03/23/2020 13:48 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    This Market Valuation Report has been prepared exclusively for use by USAA, and no
    other person or entity is entitled to or should rely upon this Market Valuation Report and/or
    any of its contents. CCC is one source of vehicle valuations, and there are other valuation
    sources available.




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                                                                                                  Owner: Sigler, John
                                                                                                  Claim:                   7001


    SUPPLEMENTAL INFORMATION

            VEHICLE HISTORY INFORMATION

    Using the VIN for this vehicle, VINguard® detected discrepancies or prior history requiring
    additional research. Please review the information detailed below.

     VINguard®
     VINguard® Message: VINguard has decoded this VIN without any errors

     Previous Total Loss Submission:
     Duplicate VIN 96964617       - previously submitted by AUTO CLUB ENTERPRISES on
                                  03/23/2020 claim ref #            -4078 in LA MIRADA, CA

     Collision History Information:
     COLLISION INCIDENT REPORTED BY USAA CASUALTY INSURANCE COMPANY ON
     03/10/2020
     Claim #:                        7001 in LA MIRADA, CA

     Repair Estimate: 0                              Miles: 066632

     Damage Location:         TOTAL LOSS
                              UNKNOWN




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                                        #:2510


                                                                                                 Owner: Sigler, John
                                                                                                 Claim:                                7001


    SUPPLEMENTAL INFORMATION
                                                                                                 CCC provides USAA information reported
                EXPERIAN® AUTOCHECK® VEHICLE HISTORY REPORT
                                                                                                 by Experian regarding the 2013 Chevrolet
                                                                                                 Impala (2G1WC5E3XD1155837). This
     TITLE CHECK                                 RESULTS FOUND                                   data is provided for informational purposes.
                                                                                                 Unless otherwise noted in this Valuation
     Abandoned                                     No Abandoned Record Found
                                                                                                 Detail, CCC does not adjust the value of the
     Damaged                                       No Damaged Record Found                       loss vehicle based upon this information.
     Fire Damage                                   No Fire Damage Record Found                   LEGEND :
     Grey Market                                   No Grey Market Record Found                      No Event Found
     Hail Damage                                   No Hail Damage Record Found                      Event Found
     Insurance Loss                                No Insurance Loss Record Found                   Information Needed
     Junk                                          No Junk Record Found                          TITLE CHECK
     Rebuilt                                       No Rebuilt Record Found                       THIS VEHICLE CHECKS OUT
     Salvage                                       No Salvage Record Found                       AutoCheck's result for this loss vehicle
                                                                                                 show no significant title events. When
     EVENT CHECK                                 RESULTS FOUND                                   found, events often indicate automotive

     NHTSA Crash Test Vehicle                                                                    damage or warnings associated with the
                                                   No NHTSA Crash Test Vehicle Record Found
                                                                                                 vehicle.
     Frame Damage                                  No Frame Damage Record Found
                                                                                                 EVENT CHECK
     Major Damage Incident                         No Major Damage Incident Record Found
                                                                                                 THIS VEHICLE CHECKS OUT
     Manufacturer Buyback/Lemon                    No Manufacturer Buyback/Lemon Record Found
                                                                                                 AutoCheck's result for this loss vehicle
     Odometer Problem                              No Odometer Problem Record Found              show no historical events that indicate
     Recycled                                      No Recycled Record Found                      a significant automotive problem. These
     Water Damage                                                                                problems can indicate past previous
                                                   No Water Damage Record Found
                                                                                                 car damage, theft, or other significant
     Salvage Auction                               No Salvage Auction Record Found
                                                                                                 problems.

     VEHICLE INFORMATION                         RESULTS FOUND                                   VEHICLE INFORMATION

     Accident                                                                                    INFORMATION FOUND
                                                   No Accident Record Found
                                                                                                 AutoCheck found additional information
     Corrected Title                               No Corrected Title Record Found
                                                                                                 on this vehicle. These records will provide
     Driver Education                              No Driver Education Record Found              more history for this loss vehicle
     Fire Damage Incident                          No Fire Damage Incident Record Found
                                                                                                 ODOMETER CHECK
     Lease                                         No Lease Record Found                         THIS VEHICLE CHECKS OUT
     Lien                                          No Lien Record Found                          AutoCheck's result for this loss vehicle
     Livery Use                                    No Livery Use Record Found                    show no indication of odometer rollback
     Government Use                                                                              or tampering was found. AutoCheck
                                                   No Government Use Record Found
                                                                                                 determines odometer rollbacks by
     Police Use                                    No Police Use Record Found
                                                                                                 searching for records that indicate
     Fleet                                         No Fleet Record Found                         odometer readings less than a previously
     Rental                                        Rental Record Found                           reported value. Other odometer events
     Fleet and/or Rental                                                                         can report events of tampering, or possible
                                                   Fleet and/or Rental Record Found
                                                                                                 odometer breakage.
     Repossessed                                   No Repossessed Record Found
     Taxi use                                      No Taxi use Record Found
     Theft                                         No Theft Record Found
     Fleet and/or Lease                            No Fleet and/or Lease Record Found
     Emissions Safety Inspection                   No Emissions Safety Inspection Record Found
     Duplicate Title                               No Duplicate Title Record Found

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                                                                                                                                   Owner: Sigler, John
                                                                                                                                   Claim:                               7001


    SUPPLEMENTAL INFORMATION
               FULL HISTORY REPORT RUN DATE: 03/23/2020

      Below are the historical events for this vehicle listed in chronological order.

    EVENT             RESULTS                              ODOMETER             DATA                                EVENT
    DATE              FOUND                                  READING            SOURCE                              DETAIL

    09/26/2012        CA                                                10      Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    09/26/2012        CA                                                        Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    09/26/2012        CA                                                        Motor Vehicle Dept.                 TITLED OR REGISTERED
                                                                                                                    AS A RENTAL VEHICLE,
                                                                                                                    OR PART OF A RENTAL
                                                                                                                    FLEET
    10/05/2012        CA                                                        Motor Vehicle Dept.                 TITLE
    09/17/2013        MONTEBELLO, CA                               19429        Dealer Record                       VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/20/2013        CA                                                        GM Certified Data                   GM APPROVED
                                                                                                                    CERTIFIED PRE-OWNED
                                                                                                                    VEHICLE
    09/20/2013        MONTEBELLO, CA                                            GM Certified Data                   VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/22/2013        CA                                           19438        Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    10/14/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    10/23/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 TITLE
    07/23/2014                                                                  Manufacturer                        MANUFACTURER
                                                                                                                    RECALL
    11/27/2017        LA MIRADA, CA                                             Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL

    AUTOCHECK TERMS AND CONDITIONS:

    Experian's Reports are compiled from multiple sources. It is not always possible for Experian to obtain complete discrepancy information on all vehicles; therefore, there may
    be other title brands, odometer readings or discrepancies that apply to a vehicle that are not reflected on that vehicle's Report. Experian searches data from additional sources
    where possible, but all discrepancies may not be reflected on the Report.


    These Reports are based on information supplied to Experian by external sources believed to be reliable, BUT NO RESPONSIBILITY IS ASSUMED BY EXPERIAN OR
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                                                                                                                                       Owner: Sigler, John
                                                                                                                                       Claim:                                7001


    SUPPLEMENTAL INFORMATION
    Experian shall not be liable for any delay or failure to provide an accurate report if and to the extent which such delay or failure is caused by events beyond the reasonable
    control of Experian, including, without limitation, "acts of God", terrorism, or public enemies, labor disputes, equipment malfunctions, material or component shortages,
    supplier failures, embargoes, rationing, acts of local, state or national governments, or public agencies, utility or communication failures or delays, fire, earthquakes, flood,
    epidemics, riots and strikes.


    These terms and the relationship between you and Experian shall be governed by the laws of the State of Illinois (USA) without regard to its conflict of law provisions. You and
    Experian agree to submit to the personal and exclusive jurisdiction of the courts located within the county of Cook, Illinois.




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                                        #:2513


                                                                                                      Owner: Sigler, John
                                                                                                      Claim:                          7001


    SUPPLEMENTAL INFORMATION
                                                                                                     The National Highway Traffic Safety
           NHTSA VEHICLE RECALL                                                                      Administration has issued 1 safety related
                                                                                                     recall notices that may apply to the above
                                                                                                     valued vehicle.
    NHTSA Campaign ID : 14V355000
    Mfg's Report Date : JUN 23, 2014
    Component : ELECTRICAL SYSTEM
    Potential Number Of Units Affected : 3,141,731
    Summary : This defect can affect the safe operation of the airbag system. Until this
    recall is performed, customers should remove all items from their key rings, leaving only
    the ignition key. The key fob (if applicable), should also be removed from the key ring.
    General Motors LLC (GM) is recalling certain model year 2005-2009 Buick LaCrosse,
    2006-2011 Buick Lucerne, 2000-2005 Cadillac DeVille, 2006-2011 Cadillac DTS,
    2006-2014 Chevrolet Impala, and 2006-2007 Chevrolet Monte Carlo vehicles. In the
    affected vehicles, the weight on the key ring and road conditions or some other jarring
    event may cause the ignition switch to move out of the run position, turning off the engine.
    Consequence : If the key is not in the run position, the air bags may not deploy if the
    vehicle is involved in a crash, increasing the risk of injury. Additionally, a key knocked out
    of the run position could cause loss of engine power, power steering, and power braking,
    increasing the risk of a vehicle crash.
    Remedy : GM will notify owners, and dealers will install two 13mm key rings and key
    insert into the vehicle's ignition keys, free of charge. The manufacturer has not yet
    provided a notification schedule. Owners may contact General Motors customer service
    at 1-800-521-7300 (Buick), 1-800-458-8006 (Cadillac), and 1-800-222-1020 (Chevrolet).
    GM's number for this recall is 14299.
    Notes : Owners may also contact the National Highway Traffic Safety Administration
    Vehicle Safety Hotline at 1-888-327-4236 (TTY 1-800-424-9153), or go to
    www.safercar.gov.




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                                         #:2514

                                                                                                                          Workfile ID:                5db0327b
                                                     IMPERIAL BODY SHOP, INC                                              PartsShare:                   5Mbk2g
                                                   Quality is not Expensive it's priceless
                                                                                                                            Federal ID:              XX-XXXXXXX
                                              121 INDUSTRY AVENUE, LA HABRA, CA 90631                                         State ID:               35-278621
                                                          Phone: (714) 879-9092                                        Resale Number:                 24-929241
                                                            FAX: (714) 879-8814                                              State EPA:           CAD982462624
                                                                                                                      License Number:                     09605
                                                                                                                                   BAR:                AL157312
                                                                  Estimate of Record

  RO Number: D7223
                                                    Written By: Pablo Galvez, 3/10/2020 4:09:02 PM
                                                   Adjuster: Bushnell, Danelle, (800) 531-8722 Other

   Insured:                SIGLER, JOHN               Policy #:               7616                         Claim #:                                  7001
   Type of Loss:           Collision                  Date of Loss:      2/28/2020 12:00 PM                Days to Repair:    15
   Point of Impact: 15 Total Loss


   Owner:                                            Inspection Location:                                  Insurance Company:
   SIGLER, JOHN                                      IMPERIAL BODY SHOP, INC                               USAA CASUALTY INSURANCE COMPANY
                                                     121 INDUSTRY AVENUE                                   USAA DRP
   LA MIRADA, CA                                     LA HABRA, CA 90631-6815                               visit us @ USAA>com or Call #8722
                        Cell                         Repair Facility                                       P.O. Box 33490
                        Evening                      (714) 879-9092 Business                               San Antonio, CA 78265
                                                                                                           (800) 531-8722 Other



                                                                         VEHICLE

   2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY

   VIN:         2G1WC5E3XD1155837         Interior Color:         BLACK                       Mileage In:      66,632              Vehicle Out:
   License:     7BXM952                   Exterior Color:         GRAY                        Mileage Out:
   State:       CA                        Production Date:        9/2012                      Condition:                           Job #:          2585



            TRANSMISSION                     Console/Storage                         AM Radio                                  Hands Free Device
            Automatic Transmission           Wood Interior Trim                      FM Radio                                  SEATS
            Overdrive                        CONVENIENCE                             Stereo                                    Bucket Seats
            POWER                            Air Conditioning                        Search/Seek                               Leather Seats
            Power Steering                   Intermittent Wipers                     CD Player                                 Heated Seats
            Power Brakes                     Tilt Wheel                              Auxiliary Audio Connection                WHEELS
            Power Windows                    Cruise Control                          Premium Radio                             Aluminum/Alloy Wheels
            Power Locks                      Rear Defogger                           Satellite Radio                           PAINT
            Power Mirrors                    Keyless Entry                           SAFETY                                    Clear Coat Paint
            Heated Mirrors                   Alarm                                   Drivers Side Air Bag                      Metallic Paint
            Power Driver Seat                Message Center                          Passenger Air Bag                         OTHER
            Power Passenger Seat             Steering Wheel Touch Controls           Anti-Lock Brakes (4)                      Fog Lamps
            DECOR                            Climate Control                         4 Wheel Disc Brakes                       Traction Control
            Dual Mirrors                     Remote Starter                          Front Side Impact Air Bags                Stability Control
            Body Side Moldings               Home Link                               Head/Curtain Air Bags                     Rear Spoiler
            Tinted Glass                     RADIO                                   Communications System                     Power Trunk/Gate Release




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                                                                          EXHIBIT D                                     USAA-SIGLER_000710
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                                         #:2515

                                                             Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY



    Line                  Oper                Description             Part Number      Qty   Extended        Labor     Paint
                                                                                               Price $
     1     #                      ****** COPY OF ESTIMATE                                1
                                  GIVEN TO CUSTOMER
                                  ************
     2     EXHAUST SYSTEM
     3                     Repl   Muffler w/tpipe w/o PZEV                  20831827     1    1,172.67 m       1.1
     4     RESTRAINT SYSTEMS
     5                     Repl   Diagnostic unit                           23183542     1      540.60 m       0.7 M
     6                            Air bag system diagnosis                                               m     0.5 M
     7                     Repl   RT Belt & retractor ebony 2nd             19259196     1      213.69         0.6
                                  design
     8                     Repl   LT Belt & retractor ebony 2nd             19259199     1      213.69         0.6
                                  design
     9                     Repl   RT Tensioner ebony 2nd design             19330801    1       159.80
     10                    Repl   LT Tensioner ebony 2nd design             19330804    1       140.56
     11    ROOF
     12                    Blnd   LT Roof rail                                                                            0.2
     13    BACK GLASS
     14    *               R&I    Back glass GM                                                               Incl.
     15    **              Repl   A/M URETHANE KIT                                       1       24.00
     16    QUARTER PANEL
     17    *               Repl   LKQ RT Quarter panel +20%            SEE FOOTNOTE      1      420.00        14.5        3.0
     18    *               Repl   LKQ RT Wheelhouse liner +20%              15876945     1       24.00         0.3
     19    *               R&I    RT Qtr glass GM                                                             Incl.
     20    **              Repl   A/M URETHANE KIT                                       1       12.00
     21    REAR BODY & FLOOR
     22                    Sect   Floor pan                                 19181805     1    1,137.37        16.0        1.5
     23                    Repl   RT Bumper bracket                         20962294     1      116.92 s       3.5        0.4
     24                    Repl   RT Bumper bracket reinf plate             20962236     1       61.67        Incl.
     25                    Repl   LT Bumper bracket reinf plate             20962236     1       61.67
     26                    Repl   Rear body panel                           89025214     1      571.08        Incl.       1.5
     27                           Overlap Major Adj. Panel                                                               -0.4
     28                           Add for Inside                                                                          0.8
     29                           Deduct for Overlap                                                          -1.0
     30                           Deduct for Overlap                                                          -1.0
     31                    Repl   Sill trim                                 15276338     1      154.42        Incl.
     32                    Repl   Compartment trim w/o Diamond              84089478     1      127.70
     33    TRUNK LID
     34    *               Repl   LKQ trunk lid assy +20%                   19179354     1      420.00         1.0        2.3
     35                           Overlap Major Adj. Panel                                                               -0.4
     36                           Refn trunk lid underside                                                                1.2
     37                    Repl   Emblem                                    22865905     1       61.50         0.2
     38                    Repl   Nameplate "IMPALA"                        15885696     1       35.00         0.3
     39                    Repl   Nameplate "LTZ"                           15265231     1       30.07         0.2




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                                         #:2516

                                                            Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY

     40    REAR BUMPER
     41    *   <>          Repl   LKQ bumper assy +20%                              19120961   1     427.20        1.5        3.0
     42                           Overlap Major Non-Adj. Panel                                                               -0.2
     43                           Clear Coat                                                                                  2.5
     44    #                      FLEX ADDITIVE                                                1       5.00 T
     45    #                      UNDERCOATING                                                 1       3.50
     46    #                      CORROSION PROTECTION                                         1       3.50 T
     47    #               Rpr    COLOR TINT                                                                       0.5
     48    #                      COVER CAR                                                    1       7.50
     49    #               Rpr    SET UP AND MEASURE                                                               2.0 F
     50    #                      CAULKING                                                     1       3.50
     51    VEHICLE DIAGNOSTICS
     52    *               Repl   Pre-repair scan                                              1              m    0.5 M
     53    *               Repl   Post-repair scan                                             1              m    0.5 M

     54                                                               OTHER CHARGES
     55    #                                                          E.P.C.                   1       6.00
                                                                      SUBTOTALS                    6,154.61       42.5      15.4


                                                                      NOTES

  Estimate Notes:
  **** NO AUTHORIZATION TO REPAIR **** A USAA REPRESENTATIVE MUST AUTHORIZE ANY SUPPLEMENTS TO THIS ESTIMATE*** CALL
  800-292-8834 FOR SUPPLEMENT APPROVAL, FORWARD SUPPLEMENT VIA EMAIL TO USAASUPPLEMENT@ASICLAIMS.COM OR FAX TO (800)
  952-5371 AND INCLUDE USAA CLAIM NUMBER

  Prior Damage Notes:
  HOOD PANEL




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                                         #:2517

                                                           Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY


                                 ESTIMATE TOTALS
                                 Category                                              Basis                 Rate       Cost $
                                 Parts                                                                                 6,140.11
                                 Body Labor                                          38.3 hrs   @      $ 50.00 /hr     1,915.00
                                 Paint Labor                                         15.4 hrs   @      $ 50.00 /hr      770.00
                                 Mechanical Labor                                     2.2 hrs   @      $ 95.00 /hr      209.00
                                 Frame Labor                                          2.0 hrs   @      $ 70.00 /hr      140.00
                                 Paint Supplies                                                                         450.00
                                 Miscellaneous                                                                             8.50
                                 Other Charges                                                                             6.00
                                 Pre-Tax Discount                                                          -4.0 %       -385.54
                                 Subtotal                                                                              9,253.07
                                 Sales Tax                                         $ 6,334.67   @       8.2500 %        522.61
                                 Grand Total                                                                         9,775.68
                                 Deductible                                                                            1,000.00
                                 CUSTOMER PAY                                                                        1,000.00
                                 INSURANCE PAY                                                                       8,775.68




  ESTIMATES ARE GOOD FOR 90 DAYS ONLY

  Please Present A Copy Of This Estimate To A Repair Facility Of Your Choice
  *USAA Subsidiaries include: United Services Automobile Association(USAA), USAA Casualty Insurance Company(CIC),
  USAA General Indemnity Company(GIC) USAA County Mutual Insurance(CMI) and Garrison Property Casualty
  Insurance Company. Garrison Property and Casualty Insurance Company, a subsidiary of USAA Casualty Insurance
  Company, is authorized to use the USAA logo, a registered trademark of United Services Automobile Association.

  This is not an authorization to repair. Failing to present this estimate to the repairing garage before repair may result
  in additional expenses to you. A USAA appraiser must authorize any supplement to this estimate. Repairs to this
  vehicle may require specific welding equipment as recommended by the manufacturer.
  If alternative quality replacement parts have been included in this appraisal, the source for these parts has also been
  disclosed. If alternative quality replacement parts as listed on the appraisal are ultimately used in the repair of your
  vehicle, the warranty on such parts will be equal to, or greater than, the parts being replaced, as stated in USAA's
  limited parts warranty. USAA warrants that the parts used on your vehicle will be of like kind and quality, function, fit,
  safety and corrosion protection as the part or parts they replace. USAA identifies certified and validated parts for
  sheet metal replacement parts.




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                                         #:2518

                                                           Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY

  CALIFORNIA LAW PROVIDES THAT YOU HAVE THE RIGHT TO SELECT THE REPAIR FACILITY OF YOUR CHOICE.
  THIS ESTIMATE HAS BEEN PREPARED BASED ON THE USE OF CRASH PARTS SUPPLIED BY A SOURCE OTHER THAN
  THE MANUFACTURER OF YOUR MOTOR VEHICLE.ANY WARRANTIES APPLICABLE TO THESE REPLACEMENT PARTS
  ARE PROVIDED BY THE MANUFACTURER OR DISTRIBUTOR OF THE PARTS,RATHER THAN BY THE ORIGINAL
  MANUFACTURER OF YOUR VEHICLE.
  IF ALTERNATIVE QUALITY REPLACEMENT PARTS HAVE BEEN INCLUDED IN THIS APPRAISAL,THE SOURCE FOR
  THESE PARTS HAS ALSO BENN DISCLOSED.IF ALTERNATIVE QUALITY REPLACEMENT PARTS AS LISTED ON THIS
  APPRAISAL ARE ULTIMATELY USED IN THE REPAIR OF YOUR VEHICLE,THE WARRANTY ON SUCH PARTS WILL BE
  EQUAL TO,OR GREATER THAN,THE PARTS BEING REPLACED,AS STATED IN USAA'S LIMITED PARTS
  WARRANTY.USAA WARRANTS THAT THE PARTS USED ON YOUR VEHICLE WILL OF LIKE,KIND AND
  QUALITY,FUNCTION,FIT,AND CORROSION PROTECTION AS THE PART OR PARTS THEY REPLACE.USAA REQUIRES
  THE USE OF CAPA-CERTIFIED PARTS FOR ANY SHEETMETAL REPLACEMENT PART SUBJECT TO
  CAPA-CERTIFICATION.

  FOR YOUR PROTECTION CALIFORNIA LAW REQUIRES THE FOLLOWING TO APPEAR ON THIS FORM: ANY PERSON
  WHO KNOWINGLY PRESENTS FALSE OR FRAUDULENT CLAIM FOR THE PAYMENT OF A LOSS IS GUILTY OF A CRIME
  AND MAY BE SUBJECT TO FINES AND CONFINEMENT IN STATE PRISON.

  THE FOLLOWING IS A LIST OF ABBREVIATIONS OR SYMBOLS THAT MAY BE USED TO DESCRIBE WORK TO BE
  DONE OR PARTS TO BE REPAIRED OR REPLACED:
  MOTOR ABBREVIATIONS/SYMBOLS: D=DISCONTINUED PART, A=APPROXIMATE PRICE. LABOR TYPES: B=BODY
  LABOR, D=DIAGNOSTIC, E=ELECTRICAL, F=FRAME, G=GLASS, M=MECHANICAL, P=PAINT LABOR,
  S=STRUCTURAL, T=TAXED MISCELLANEOUS, X=NON TAXED MISCELLANEOUS. CCC ONE: ADJ=ADJACENT,
  ALGN=ALIGN, A/M=AFTERMARKET, BLND=BLEND, CAPA=CERTIFIED AUTOMOTIVE PARTS ASSOCIATION,
  D&R=DISCONNECT AND RECONNECT, EST=ESTIMATE, EXT. PRICE=UNIT PRICE MULTIPLIED BY THE QUANTITY,
  INCL=INCLUDED, MISC=MISCELLANEOUS, NAGS=NATIONAL AUTO GLASS SPECIFICATIONS, NON-ADJ=NON
  ADJACENT, O/H=OVERHAUL, OP=OPERATION, NO=LINE NUMBER, QTY=QUANTITY, RECOND=RECONDITION,
  REFN=REFINISH, REPL=REPLACE, R&I=REMOVE AND INSTALL, R&R=REMOVE AND REPLACE, RPR=REPAIR,
  RT=RIGHT, SECT=SECTION, SUBL=SUBLET, LT=LEFT, W/O=WITHOUT, W/_=WITH/_ SYMBOLS: #=MANUAL LINE
  ENTRY, *=OTHER [IE..MOTORS DATABASE INFORMATION WAS CHANGED], **=DATABASE LINE WITH
  AFTERMARKET, N=NOTES ATTACHED TO LINE. OPT OEM=ORIGINAL EQUIPMENT MANUFACTURER PARTS EITHER
  OPTIONALLY SOURCED OR OTHERWISE PROVIDED WITH SOME UNIQUE PRICING OR DISCOUNT.

  "CURE TIME" MEANS THE LENGTH OF TIME THAT, PER THE ADHESIVE MANUFACTURER, THE WINDSHIELD
  ADHESIVE NEEDS TO CURE UNTIL THE WINDSHIELD CAN PROPERLY FUNCTION AS A SAFETY DEVICE PURSUANT
  TO THE FEDERAL MOTOR VEHICLE SAFETY STANDARDS AND THE VEHICLE MANUFACTURER'S SPECIFICATIONS.

  Estimate calculated using a preset user threshold amount for the paint and material cost.

  THIS ESTIMATE HAS BEEN PREPARED BASED ON THE USE OF CRASH PARTS SUPPLIED BY A SOURCE OTHER THAN
  THE MANUFACTURER OF YOUR MOTOR VEHICLE. ANY WARRANTIES APPLICABLE TO THESE REPLACEMENT PARTS
  ARE PROVIDED BY THE MANUFACTURER OR DISTRIBUTOR OF THE PARTS, RATHER THAN BY THE ORIGINAL
  MANUFACTURER OF YOUR VEHICLE.




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                                                           Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY

  Estimate based on MOTOR CRASH ESTIMATING GUIDE and potentially other third party sources of data. Unless
  otherwise noted, (a) all items are derived from the Guide DR1CB06, CCC Data Date 03/02/2020, and potentially other
  third party sources of data; and (b) the parts presented are OEM-parts. OEM parts are manufactured by or for the
  vehicle's Original Equipment Manufacturer (OEM) according to OEM's specifications for U.S. distribution. OEM parts
  are available at OE/Vehicle dealerships or the specified supplier. OPT OEM (Optional OEM) or ALT OEM (Alternative
  OEM) parts are OEM parts that may be provided by or through alternate sources other than the OEM vehicle
  dealerships with discounted pricing. Asterisk (*) or Double Asterisk (**) indicates that the parts and/or labor data
  provided by third party sources of data may have been modified or may have come from an alternate data source.
  Tilde sign (~) items indicate MOTOR Not-Included Labor operations. The symbol (<>) indicates the refinish
  operation WILL NOT be performed as a separate procedure from the other panels in the estimate. Non-Original
  Equipment Manufacturer aftermarket parts are described as Non OEM, A/M or NAGS. Used parts are described as
  LKQ, RCY, or USED. Reconditioned parts are described as Recond. Recored parts are described as Recore. NAGS
  Part Numbers and Benchmark Prices are provided by National Auto Glass Specifications. Labor operation times listed
  on the line with the NAGS information are MOTOR suggested labor operation times. NAGS labor operation times are
  not included. Pound sign (#) items indicate manual entries.

  Some 2020 vehicles contain minor changes from the previous year. For those vehicles, prior to receiving updated
  data from the vehicle manufacturer, labor and parts data from the previous year may be used. The CCC ONE
  estimator has a list of applicable vehicles. Parts numbers and prices should be confirmed with the local dealership.

  The following is a list of additional abbreviations or symbols that may be used to describe work to be done or parts to
  be repaired or replaced:

  SYMBOLS FOLLOWING PART PRICE:
  m=MOTOR Mechanical component. s=MOTOR Structural component. T=Miscellaneous Taxed charge category.
  X=Miscellaneous Non-Taxed charge category.

  SYMBOLS FOLLOWING LABOR:
  D=Diagnostic labor category. E=Electrical labor category. F=Frame labor category. G=Glass labor category.
  M=Mechanical labor category. S=Structural labor category. (numbers) 1 through 4=User Defined Labor Categories.

  OTHER SYMBOLS AND ABBREVIATIONS:
  Adj.=Adjacent. Algn.=Align. ALU=Aluminum. A/M=Aftermarket part. Blnd=Blend. BOR=Boron steel.
  CAPA=Certified Automotive Parts Association. D&R=Disconnect and Reconnect. HSS=High Strength Steel.
  HYD=Hydroformed Steel. Incl.=Included. LKQ=Like Kind and Quality. LT=Left. MAG=Magnesium. Non-Adj.=Non
  Adjacent. NSF=NSF International Certified Part. O/H=Overhaul. Qty=Quantity. Refn=Refinish. Repl=Replace.
  R&I=Remove and Install. R&R=Remove and Replace. Rpr=Repair. RT=Right. SAS=Sandwiched Steel.
  Sect=Section. Subl=Sublet. UHS=Ultra High Strength Steel. N=Note(s) associated with the estimate line.

  CCC ONE Estimating - A product of CCC Information Services Inc.

  The following is a list of abbreviations that may be used in CCC ONE Estimating that are not part of the MOTOR
  CRASH ESTIMATING GUIDE:
  BAR=Bureau of Automotive Repair. EPA=Environmental Protection Agency. NHTSA= National Highway
  Transportation and Safety Administration. PDR=Paintless Dent Repair. VIN=Vehicle Identification Number.




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                                                           Estimate of Record

  RO Number: D7223
  2013 CHEV Impala LTZ 4D SED 6-3.6L Gasoline Direct Injection GRAY



                                                         PARTS SUPPLIER LIST

     Line    Supplier                                   Description                                                       Price
      18     LKQ - LAKENOR AUTO SALVAGE                 #$AL445                                                          $ 20.00
                                                        LKQ RT Wheelhouse liner +20%
             10950 SOUTH NORWALK BLVD.                  Rear Fender Liner Rt R, INNER LINER, RH S#$AL445
             SANTA FE SPRING CA 90670
             (800) 525-3667

      34     LKQ - LAKENOR AUTO SALVAGE                 #R81772                                                         $ 320.00
                                                        LKQ trunk lid assy +20%
             10950 SOUTH NORWALK BLVD.                  Lid W/O SPOILER; EXC. POLICE S#R81772
             SANTA FE SPRING CA 90670
             (800) 525-3667

      41     LKQ Corp                                   #~240586129                                                     $ 525.00
             13642 Orden Dr.                            LKQ bumper assy +20%
             Santa Fe Springs CA 90670                  Bumper Assembly, Rear VIN W (4TH DIGIT,
                                                        LIMITED)RPNT,S#$GC852
             (800) 525-3667                             Quote: 530771249
                                                        Expires: 04/23/20




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            EXHIBIT E
                                  EXHIBIT E
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      From: USAA[USAA.Web.Services@customermail.usaa.com]

      Sent: Tuesday, March 31, 2020 02:16 PM

      To: jwsigler@sws-llc.com


      Subject: Information for Your USAA Total Loss Settlement




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                                     EXHIBIT E            USAA-SIGLER_000729
                                       134
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       Thank you for agreeing to accept messages and documents electronically for the duration of this
       claim. Here are the terms and conditions for electronic communication with you.

       USAA Reference Number:             616 - 7

       Dear Mr. Sigler,


       Please see attached for additional information.


                                  USAA, 9800 Fredericksburg Road, San Antonio, Texas, 78288




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                                                     EXHIBIT E                                USAA-SIGLER_000730
                                                       135
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                    USAA Casualty Insurance Company
                                                                            INFORMATION FOR
                                                                             YOUR TOTAL LOSS
                                                                                SETTLEMENT
      JOHN W SIGLER

      LA MIRADA CA




             Provide Information for Your Total Loss Settlement

    March 31, 2020

    Dear Mr. Sigler,

    Thank you for trusting us with your insurance needs. This letter confirms we sent you information about the total loss of
    your vehicle. I've enclosed the following:

        ·   An information sheet with details about your claim and payment amount, and important information from your
            state.
        ·   Our Total Loss Valuation, which is our assessment of the vehicle’s damages.

    Next Steps
    Please review the enclosures and if you haven’t already, contact us with the following information:

        ·   Title and lien holder details.
                 o If you’re paying on the vehicle, provide your account number and the name, address and phone number
                     of the lien holder.
                 o Provide the state where the vehicle is titled.
                 o If you have the vehicle’s title, do not sign it. We’ll provide you with more details about the title transfer.
                 o If we need any forms from you, such as an Odometer statement or Power of Attorney, we’ll send them
                     to you by mail. Remember to follow your state’s guidance on notarization.
        ·   Your preferred payment method.
                 o Electronic funds transfer — USAA will pay you by making a one-time funds transfer directly into a
                     checking or savings account you designate. Non-USAA accounts must be on your funds transfer list. To
                     add an account, log on to usaa.com, select the Funds Transfer link and click Add an Account. The
                     deposit will be made within five business days of finalizing your claim.
                 o Check — A check for the payment amount will be sent to you within seven business days of finalizing
                     your claim.

    Continue Your USAA Insurance Payments
    Please continue to pay your premium as you normally would. If you decide to keep your vehicle when your claim is paid,
    be sure to speak with a policy service representative about coverage. If you don’t keep your vehicle, it’ll be removed
    from the policy retroactive to the date after the loss date.




            6 - 007 - 8524 - 10                                                                                       126163-0818


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    How to Contact Us
    Please send any correspondence or questions to us using one of the following options and include the claim/reference
    number above on each page faxed or mailed:

                         usaa.com or our mobile app:       Upload documents or post a secure message to your claim file
                                                           through the Claim Communication Center.

                         Address:                          ATTN: Salvage Recovery
                                                           P.O. Box 659474
                                                           San Antonio, TX 78265

                         Fax:                              1-800-531-8669

                        Phone:                              1-210-531-8722 ext. 33105
    It’s an honor to serve you. Please think of us first for all your financial needs.

    Thank you,
    USAA Casualty Insurance Company

    Enclosed:     Claim, Payment And State Information
                  CCC TOTAL LOSS VALUATION




            6 - 007 - 8524 - 10                                                                                      126163-0818



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                                                                                CLAIM AND PAYMENT
                                                                                      INFORMATION


    Following are details about your claim and claim payment:

    Claim:

             Registered owner:                      John W Sigler
             Policyholder:                          John W Sigler
             USAA #:                                       7616
             Claim #:                                       616–7
             Loss location:                         Costa Mesa, CA
             Type of loss:                          Collision
             Date of loss:                          February 28, 2020
             Vehicle information:                   2013 CHEVROLET IMPALA 4D LTZ
             VIN #:                                 2G1WC5E3XD1155837

    Payment:

             Vehicle’s actual cash value:           $8,990.00
             Sales tax:                             $854.05
             CA CVR Fees:                           $214.00
             Manager Adjustment:                    $0.00
             Fuel:                                  $32.00
             Collision Deductible:                  $0.00
             Net Total:                             $10,090.05

                                            Important Information from the state of CA

    If you cannot purchase a comparable vehicle for the gross settlement amount within 35 days of receipt of the final settlement
    amount, please contact us and we will reopen the file.




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                                                                                                                           Prepared for USAA


             REPORT SUMMARY
                                                                                                  The CCC ONE® Market Valuation
           CLAIM INFORMATION                                                                      Report reflects CCC Information
                                                                                                  Services Inc.’s opinion as to the value
     Owner                                                  Sigler, John
                                                                                                  of the loss vehicle, based on information
                                                                                                  provided to CCC by USAA.
                                                            La Mirada, CA
     Loss Vehicle                                           2013 Chevrolet Impala LTZ             Loss vehicle has 33% fewer than
                                                                                                  average mileage of 99,000.
     Loss Incident Date                                     02/28/2020
     Claim Reported                                         03/10/2020



            INSURANCE INFORMATION
     Report Reference Number                                96832839
     Claim Reference                                                             7001
     Adjuster                                               Bushnell, Danelle
     Appraiser                                              Galvez, Pablo
     Odometer                                               66,632
     Last Updated                                           03/31/2020 11:33 AM


                                                                                                            BASE VEHICLE VALUE
            VALUATION SUMMARY                                                                     This is derived per our Valuation
                                                                                                  methodology described on the next
     Base Vehicle Value                                                    $ 8,837.00             page.
     Refurbishments                                                          + $ 35.00
     ADJUSTMENT TO SETTLE*                                                  + $ 118.00                  ADJUSTED VEHICLE VALUE
                                                                                                  This is determined by adjusting the
     Adjusted Vehicle Value                                                $ 8,990.00
                                                                                                  Base Vehicle Value to account for the
     Vehicular Tax (9.5%)                                                   + $ 854.05
                                                                                                  actual condition of the loss vehicle and
     Tax reflects applicable state, county and municipal
                                                                                                  certain other reported attributes, if any,
     taxes.                                                                                       such as refurbishments and after factory
                                                                                                  equipment.
     Total                                                        $ 9,844.05
                                                                                                 Inside the Report
    Adjustments indicated with an Asterisk (*) have been determined by USAA and have been
    added here for convenience.                                                                  Valuation Methodology............................. 2
                                                                                                 Vehicle Information...................................3
    The total may not represent the total of the settlement as other factors (e.g. license and
                                                                                                 Vehicle Condition......................................6
    fees) may need to be taken into account.
                                                                                                 Previous Valuation....................................8
                                                                                                 Comparable Vehicles............................. 10
                                                                                                 Valuation Notes...................................... 16
                                                                                                 Supplemental Information.......................17




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                                                                                                          Owner: Sigler, John
                                                                                                          Claim:                       7001



    VALUATION METHODOLOGY
    How was the valuation determined?



                                        CLAIM INSPECTION
                                        USAA has provided CCC with the zip code where the loss vehicle is garaged, loss vehicle VIN,
                                        mileage, equipment, as well as loss vehicle condition, which is used to assist in determining the value
                                        of the loss vehicle.




                                                                          DATABASE REVIEW
                                                                          CCC maintains an extensive database of vehicles that currently are
                                                                          or recently were available for sale in the U.S. This database includes
                                                                          vehicles advertised for sale by dealerships or private parties. CCC
                                                                          also obtains vehicle sales prices from a database of California
                                                                          Department of Motor Vehicles vehicle registration sold transactions.
                                                                          All of these sources are updated regularly.




    SEARCH FOR COMPARABLES
    When a valuation is created the database is searched and
    comparable vehicles in the area are selected. The zip code
    where the loss vehicle is garaged determines the starting point
    for the search. Comparable vehicles are similar to the loss
    vehicle based on relevant factors.
    Because the loss vehicle was recently valued, the comparable
    vehicle(s) were added for informational purposes and were not
    used to determine the Base Vehicle Value.

    CALCULATE BASE VEHICLE VALUE
    The Base Vehicle Value is based on CCC’s recent previous valuation of this vehicle
    reflecting the current inspection information provided by USAA. Adjustments may have
    been made where the current information differs from that provided to CCC regarding the
    previous valuation, such as differences in mileage, options, and additional equipment.
    Dollar adjustments are based upon market research.




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                                                                                               Owner: Sigler, John
                                                                                               Claim:                            7001




                VEHICLE INFORMATION
     VEHICLE DETAILS
                                                                                               Vehicles sold in the United States
     Location                                  LA MIRADA, CA 90638                             are required to have a manufacturer
                                                                                               assigned Vehicle Identification
     VIN                                       2G1WC5E3XD1155837
                                                                                               Number(VIN). This number provides
     Year                                      2013                                            certain specifications of the vehicle.
     Make                                      Chevrolet
                                                                                               Please review the information in the
     Model                                     Impala                                          Vehicle Information Section to confirm
     Trim                                      LTZ                                             the reported mileage and to verify that
                                                                                               the information accurately reflects the
     Body Type                                 Sedan
                                                                                               options, additional equipment or other
     Engine -                                                                                  aspects of the loss vehicle that may
           Cylinders                           6                                               impact the value.

           Displacement                        3.6L
           Fuel Type                           Gasoline
           Carburation                         Direct Injection
     Transmission                              Automatic Transmission Overdrive
     Curb Weight                               3649 lbs


     VEHICLE HISTORY SUMMARY                                                                   Using the VIN for this vehicle,
                                                                                               VINguard® detected discrepancies
     CCC VINguard®                 1 Possible Total Loss                                       or prior history requiring additional
                                                                                               research.
                                   2 Collision Estimates                          03/23/2020
     Experian AutoCheck            No Title Problem Found                                      See Supplemental Information section
                                                                                               for additional details.
     National Highway Traffic      1 Recall
     Safety Administration




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                                        #:2530


                                                                               Owner: Sigler, John
                                                                               Claim:                           7001




               VEHICLE INFORMATION
     VEHICLE EQUIPMENT
                                                                               To the left is the equipment of the loss
     Odometer                      66,632                                      vehicle that USAA provided to CCC.

     Transmission                  Automatic Transmission                         Standard This equipment is
                                                                                  included in the base configuration of
                                   Overdrive
                                                                                  the vehicle at time of purchase.
     Power                         Power Steering
                                                                                  Additional Equipment that is not
                                   Power Brakes
                                                                                  Standard but was noted to be on the
                                   Power Windows                                  loss vehicle.

                                   Power Locks

                                   Power Mirrors

                                   Power Driver Seat

                                   Power Passenger Seat

                                   Power Trunk/Gate Release

     Decor/Convenience             Air Conditioning

                                   Climate Control

                                   Tilt Wheel

                                   Cruise Control

                                   Rear Defogger

                                   Intermittent Wipers

                                   Console/Storage

                                   Keyless Entry

                                   Message Center

                                   Home Link

                                   Remote Starter

                                   Wood Interior Trim

     Seating                       Bucket Seats

                                   Leather Seats

                                   Heated Seats

     Radio                         AM Radio

                                   FM Radio

                                   Stereo

                                   Search/Seek

                                   CD Player

                                   Steering Wheel Touch Controls


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                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




              VEHICLE INFORMATION
     VEHICLE EQUIPMENT

                                   Auxiliary Audio Connection

                                   Premium Radio

                                   Satellite Radio

     Wheels                        Aluminum/Alloy Wheels

     Roof                          Electric Glass Roof

     Safety/Brakes                 Air Bag (Driver Only)

                                   Passenger Air Bag

                                   Anti-lock Brakes (4)

                                   4-wheel Disc Brakes

                                   Front Side Impact Air Bags

                                   Head/Curtain Air Bags

                                   Communications System

                                   Hands Free

                                   Alarm

                                   Traction Control

                                   Stability Control

     Exterior/Paint/Glass          Dual Mirrors

                                   Heated Mirrors

                                   Body Side Moldings

                                   Tinted Glass

                                   Fog Lamps

                                   Rear Spoiler

                                   Clearcoat Paint

                                   Metallic Paint

     Other - Cars                  California Emissions




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                                        #:2532


                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                            7001




             VEHICLE CONDITION/REFURBISHMENTS
     COMPONENT CONDITION
                                                                                                    USAA uses condition inspection
                     Condition            Inspection Notes/Typical Vehicle           Value Impact   guidelines to rate the condition of key
                                          Description                                               components of the loss vehicle on a
                                                                                                    three-point scale. A rating of average
     Mechanical      AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    condition results in a valuation of that
                                          Engine: Minor to no seepage. Belts and
                                                                                                    component that is consistent with typical
                                          hoses firm, show minimal wear. Minimal                    vehicles for that year, make and model
                                          dirt and grease in engine compartment.                    of vehicle. If a component is rated in
                                          Transmission: Fluid slightly discolored.                  exceptional condition, then a positive
                                          None to a few areas of seepage.                           monetary adjustment is made to reflect
                                                                                                    the impact of that condition level on the
     Tires           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    value of the loss vehicle. Similarly, if a
                                          Rear Tires: 41% to 90% of new.
                                                                                                    component is rated in below average
                                          Example: Typical new car tires are
                                                                                                    condition, then a negative monetary
                                          11/32, loss measures at 5/32 = 46%                        adjustment is made to reflect the impact
                                          (5/11)                                                    of that condition level on the value of the
                                          Front Tires: 41% to 90% of new.                           loss vehicle. Inspection Notes, if any,
                                          Example: Typical new car tires are                        reflect additional observations from the
                                          11/32, loss measures at 5/32 = 46%                        appraiser regarding the loss vehicle's
                                          (5/11)                                                    condition. Monetary adjustments are
                                                                                                    based upon market research consisting
     Paint           AVERAGE              Typical Vehicle Desc:                             $0
                                                                                                    of data gathered from dealerships in
                                          A few small to minimal deep surface                       California.
                                          chips and/or scratches. No significant
                                                                                                    CCC makes dollar adjustments that
                                          peeling and/or flaking. Minor swirl
                                                                                                    reflect the impact the reported condition
                                          marks. Slight to no Fading.
                                                                                                    has on the value of the loss vehicle as
     Body            AVERAGE              Typical Vehicle Desc:                             $0      compared to Average condition. These
                                          Sheet Metal: Few to no dents. Few to                      dollar adjustments are based upon
                                          numerous dings. No significant to no                      interviews with dealerships across the
                                          surface rust.                                             United States.
                                          Trim: Minimal damage to components.
                                                                                                    USAA also identifies the after factory
                                          No missing components. A few to zero
                                                                                                    options and upkeep dollars invested
                                          dents. Numerous to a few dings.                           into the loss vehicle that were brought
     Glass           AVERAGE              Typical Vehicle Desc:                             $0      to its attention. CCC makes dollar
                                          Light surface scratches and/or pitting.                   adjustments that reflect the impact, if
                                          Few to no chips.                                          any, these items have on the value of the
                                                                                                    vehicle. The total of these adjustments
                                                                                                    is shown in the Valuation Summary as
                                                                                                    Refurbishments.




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                                                                                                     Owner: Sigler, John
                                                                                                     Claim:                 7001




                VEHICLE CONDITION/REFURBISHMENTS
     COMPONENT CONDITION

                     Condition            Inspection Notes/Typical Vehicle            Value Impact
                                          Description

     Interior        AVERAGE              Typical Vehicle Desc:                              $0
                                          Headliner: A few small to no holes and/
                                          or burn marks. No significant scuffing to
                                          lightly scuffed.
                                          Dashboard: A few small to no
                                          scratches and/or gouges. Minimal
                                          damage to firmly intact components.
                                          Light to no significant wear.
                                          Carpets: Lightly soiled to clean and/
                                          or stained. None to a few small tears,
                                          holes and /or burn marks. None or no
                                          significant bare spots.
                                          Seats: Lightly soiled or clean, faded
                                          and/or discolored. None to no significant
                                          tears, holes and/or burn marks. None or
                                          no significant bare spots.

     Maintenance                          Purchase Price : $ 165.00                         $ 35
     Item

        Total Condition Adjustments                                                          $0




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                                        #:2534


                                                                               Owner: Sigler, John
                                                                               Claim:                           7001




              Previous Valuation
     Options                                Loss    Previous
                                                                               Comp 1       Updated Date: 03/10/2020
                                           Vehicle Valuation 1
                                                                               2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        66,632               Gasoline Direct Injection
     Automatic Transmission                                                    VIN 2G1WC5E3XD1155837
                                                                               Source Previous Valuation
     Overdrive
     Power Steering                                                            Previous Valuation means that the
     Power Brakes                                                              loss vehicle was recently valued. The
                                                                               details shown in this section reflect the
     Power Windows
                                                                               odometer and any differences in vehicle
     Power Locks                                                               configuration provided by the insurer
     Power Mirrors                                                             as compared to the previous valuation.
     Power Driver Seat                                                         The loss vehicle is being valued based
     Power Passenger Seat                                                      on this previous valuation, adjusted
                                                                               to reflect any differences in reported
     Power Trunk/Gate Release
                                                                               attributes.
     Air Conditioning
     Climate Control
     Tilt Wheel
     Cruise Control
     Rear Defogger
     Intermittent Wipers
     Console/Storage
     Keyless Entry
     Message Center
     Home Link
     Remote Starter
     Wood Interior Trim
     Bucket Seats
     Leather Seats
     Heated Seats
     AM Radio
     FM Radio
     Stereo
     Search/Seek
     CD Player
     Steering Wheel Touch Controls
     Auxiliary Audio Connection
     Premium Radio
     Satellite Radio
     Aluminum/Alloy Wheels
     Electric Glass Roof
     Drivers Side Air Bag
     Passenger Air Bag
     Anti-lock Brakes (4)

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                                                                               Owner: Sigler, John
                                                                               Claim:                 7001




             Previous Valuation
     Options                                Loss    Previous
                                           Vehicle Valuation 1

     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions

     Value                                                   $ 8,437

     Adjustments:
                         Options                             + $ 400


     Adjusted Comparable Value                               $ 8,837




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                                                                                                Owner: Sigler, John
                                                                                                Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2   **Comp 3
                                                                                                Comp 1        Updated Date: 01/05/2020
                                           Vehicle
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        73,505           119,352    117,134   Gasoline Direct Injection
     Automatic Transmission                                                                     VIN 2G1WC5E3XD1259101
                                                                                                Dealership Car Depot
     Overdrive
                                                                                                Telephone (213) 725-2132
     Power Steering                                                                             Source Truecar
     Power Brakes                                                                               Stock # 259101
     Power Windows                                                                              Distance from La Mirada, CA
     Power Locks                                                                                17 Miles - Pasadena, CA
                                                                                                Comp 2        Updated Date: 03/08/2020
     Power Mirrors
                                                                                                2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                          Gasoline Direct Injection
     Power Passenger Seat                                                                       VIN 2G1WC5E36D1141384
     Power Trunk/Gate Release                                                                   Dealership Laguna Motors
     Air Conditioning                                                                           Telephone (714) 742-4759
                                                                                                Source Truecar
     Climate Control
                                                                                                Stock # LM01216
     Tilt Wheel                                                                                 Distance from La Mirada, CA
     Cruise Control                                                                             31 Miles - Laguna Niguel, CA
     Rear Defogger                                                                              Comp 3        Updated Date: 03/08/2020
     Intermittent Wipers                                                                        2013 Chevrolet Impala Ltz 6 3.6l
                                                                                                Gasoline Direct Injection
     Console/Storage
                                                                                                VIN 2G1WC5E30D1219450
     Keyless Entry                                                                              Dealership Advantage Auto Ctr
     Message Center                                                                             Telephone (909) 795-7990
     Home Link                                                                                  Source Truecar
     Remote Starter                                                                             Stock # 219450
                                                                                                Distance from La Mirada, CA
     Wood Interior Trim
                                                                                                48 Miles - Redlands, CA
     Bucket Seats
     Leather Seats                                                                              Comparable vehicles used in the
                                                                                                determination of the Base Vehicle Value
     Heated Seats
                                                                                                are not intended to be replacement
     AM Radio                                                                                   vehicles but are reflective of the market
     FM Radio                                                                                   value, and may no longer be available
     Stereo                                                                                     for sale.
     Search/Seek
                                                                                                List Price is the sticker price of an
     CD Player                                                                                  inspected dealer vehicle and the
     Steering Wheel Touch Controls                                                              advertised price for the advertised
     Auxiliary Audio Connection                                                                 vehicle.

     Premium Radio                                                                              Distance is based upon a straight line
     Satellite Radio                                                                            between loss and comparable vehicle
     Aluminum/Alloy Wheels                                                                      locations.
     Electric Glass Roof                                                                        **Because the loss vehicle was recently
     Drivers Side Air Bag                                                                       valued, the comparable vehicle(s) were
     Passenger Air Bag                                                                          added for informational purposes and
     Anti-lock Brakes (4)

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                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                         7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 1          **Comp 2     **Comp 3     were not used to determine the Base
                                           Vehicle                                                  Vehicle Value.

     4-wheel Disc Brakes
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 7,795         $ 6,500      $ 6,995

     Adjustments:
                         Options                             + $ 400                      + $ 400
                         Mileage                             + $ 183       + $ 2,029    + $ 1,960


     Adjusted Comparable Value                               $ 8,378         $ 8,529      $ 9,355


     Options                                Loss        **Comp 4          **Comp       **Comp
                                                                                                    Comp 4       Updated Date: 03/08/2020
                                           Vehicle                          5 (*)        6 (*)
                                                                                                    2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        121,412          66,872       75,414      Gasoline Direct Injection
     Automatic Transmission                                                                         VIN 2G1WC5E36D1242375
                                                                                                    Dealership Advantage Auto Ctr
     Overdrive
                                                                                                    Telephone (909) 795-7990
     Power Steering                                                                                 Source Truecar
     Power Brakes                                                                                   Stock # 242375
     Power Windows                                                                                  Distance from La Mirada, CA
     Power Locks                                                                                    48 Miles - Redlands, CA
                                                                                                    Comp 5        Updated Date: 03/22/2020
     Power Mirrors
                                                                                                    2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                              Gasoline Direct Injection
     Power Passenger Seat                                                                           VIN 2G1WC5E33D1225727
     Power Trunk/Gate Release                                                                       Dealership M Motorsport
     Air Conditioning                                                                               Telephone (562) 494-7800
                                                                                                    Source Truecar
     Climate Control
                                                                                                    Stock # 2001727386

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                                                                                              Owner: Sigler, John
                                                                                              Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss        **Comp 4          **Comp    **Comp    Distance from La Mirada, CA
                                           Vehicle                          5 (*)     6 (*)   11 Miles - Long Beach, CA
                                                                                              Comp 6        Updated Date: 03/22/2020
     Tilt Wheel                                                                               2013 Chevrolet Impala Ltz 6 3.6l
     Cruise Control                                                                           Gasoline Direct Injection
     Rear Defogger                                                                            VIN 2G1WC5E39D1253337
                                                                                              Dealership Quantum Auto Sales -
     Intermittent Wipers
                                                                                              Garden Grove
     Console/Storage                                                                          Telephone (714) 265-0240
     Keyless Entry                                                                            Source Truecar
     Message Center                                                                           Stock # 19710
     Home Link                                                                                Distance from La Mirada, CA
                                                                                              10 Miles - Garden Grove, CA
     Remote Starter
     Wood Interior Trim                                                                       Comparable vehicles used in the
     Bucket Seats                                                                             determination of the Base Vehicle Value
                                                                                              are not intended to be replacement
     Leather Seats
                                                                                              vehicles but are reflective of the market
     Heated Seats                                                                             value, and may no longer be available
     AM Radio                                                                                 for sale.
     FM Radio
                                                                                              List Price is the sticker price of an
     Stereo
                                                                                              inspected dealer vehicle and the
     Search/Seek                                                                              advertised price for the advertised
     CD Player                                                                                vehicle.
     Steering Wheel Touch Controls
                                                                                              Distance is based upon a straight line
     Auxiliary Audio Connection                                                               between loss and comparable vehicle
     Premium Radio                                                                            locations.
     Satellite Radio
                                                                                              **Because the loss vehicle was recently
     Aluminum/Alloy Wheels                                                                    valued, the comparable vehicle(s) were
     Electric Glass Roof                                                                      added for informational purposes and
     Drivers Side Air Bag                                                                     were not used to determine the Base
     Passenger Air Bag                                                                        Vehicle Value.

     Anti-lock Brakes (4)                                                                       *The comparable vehicle was
     4-wheel Disc Brakes                                                                        added, for informational purposes,
     Front Side Impact Air Bags                                                                 and was not used to determine the
                                                                                                vehicle value.
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps


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                                                                                                  Owner: Sigler, John
                                                                                                  Claim:                           7001




             COMPARABLE VEHICLES
     Options                                Loss        **Comp 4          **Comp      **Comp
                                           Vehicle                          5 (*)       6 (*)

     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 6,995        $ 8,999     $ 9,995

     Adjustments:
                        Mileage                            + $ 2,089          +$6       + $ 239


     Adjusted Comparable Value                               $ 9,084        $ 9,005    $ 10,234


     Options                                Loss         **Comp           **Comp      **Comp
                                                                                                  Comp 7        Updated Date: 02/23/2020
                                           Vehicle         7 (*)            8 (*)       9 (*)
                                                                                                  2013 Chevrolet Impala Ltz 6 3.6l
     Odometer                               66,632        95,858          65,192      95,392      Gasoline Direct Injection
     Automatic Transmission                                                                       VIN 2G1WC5E32D1248044
                                                                                                  Dealership Luxury Auto Lounge
     Overdrive
                                                                                                  Telephone (714) 317-8858
     Power Steering                                                                               Source Truecar
     Power Brakes                                                                                 Stock # 100496
     Power Windows                                                                                Distance from La Mirada, CA
     Power Locks                                                                                  16 Miles - Costa Mesa, CA
                                                                                                  Comp 8        Updated Date: 03/08/2020
     Power Mirrors
                                                                                                  2013 Chevrolet Impala Ltz 6 3.6l
     Power Driver Seat                                                                            Gasoline Direct Injection
     Power Passenger Seat                                                                         VIN 2G1WC5E37D1235127
     Power Trunk/Gate Release                                                                     Dealership Karplus Warehouse Inc.
     Air Conditioning                                                                             Telephone (888) 420-5280
                                                                                                  Source Autotrader
     Climate Control
                                                                                                  Stock # M235127
     Tilt Wheel                                                                                   Distance from La Mirada, CA
     Cruise Control                                                                               32 Miles - Van Nuys, CA
     Rear Defogger                                                                                Comp 9         Updated Date: 03/15/2020
     Intermittent Wipers                                                                          2013 Chevrolet Impala Ltz 6 3.6l
                                                                                                  Gasoline Direct Injection
     Console/Storage
                                                                                                  VIN 2G1WC5E31D1190878
     Navigation System                                                                            Dealership Mk Auto Club
     Keyless Entry                                                                                Telephone (951) 399-6886
     Message Center                                                                               Source Autotrader
     Home Link                                                                                    Stock # MK0878
                                                                                                  Distance from La Mirada, CA
     Remote Starter
                                                                                                  38 Miles - Riverside, CA
     Wood Interior Trim
     Bucket Seats                                                                                 Comparable vehicles used in the
                                                                                                  determination of the Base Vehicle Value
     Leather Seats
                                                                                                  are not intended to be replacement
     Heated Seats                                                                                 vehicles but are reflective of the market

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                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                             7001




              COMPARABLE VEHICLES
     Options                                Loss         **Comp           **Comp       **Comp       value, and may no longer be available
                                           Vehicle         7 (*)            8 (*)        9 (*)      for sale.

     AM Radio                                                                                       List Price is the sticker price of an
                                                                                                    inspected dealer vehicle and the
     FM Radio
                                                                                                    advertised price for the advertised
     Stereo                                                                                         vehicle.
     Search/Seek
                                                                                                    Distance is based upon a straight line
     CD Player
                                                                                                    between loss and comparable vehicle
     Steering Wheel Touch Controls
                                                                                                    locations.
     Auxiliary Audio Connection
     Premium Radio                                                                                  **Because the loss vehicle was recently
                                                                                                    valued, the comparable vehicle(s) were
     Satellite Radio
                                                                                                    added for informational purposes and
     Aluminum/Alloy Wheels                                                                          were not used to determine the Base
     Electric Glass Roof                                                                            Vehicle Value.
     Drivers Side Air Bag
                                                                                                      *The comparable vehicle was
     Passenger Air Bag                                                                                added, for informational purposes,
     Anti-lock Brakes (4)                                                                             and was not used to determine the
     4-wheel Disc Brakes                                                                              vehicle value.
     Front Side Impact Air Bags
     Head/Curtain Air Bags
     Communications System
     Hands Free
     Alarm
     Traction Control
     Stability Control
     Dual Mirrors
     Heated Mirrors
     Body Side Moldings
     Tinted Glass
     Fog Lamps
     Rear Spoiler
     Clearcoat Paint
     Metallic Paint
     California Emissions


     List Price                                              $ 5,299        $ 6,992      $ 5,491

     Adjustments:
                         Options                             + $ 400        + $ 133
                         Mileage                           + $ 1,038          - $ 34    + $ 1,015


     Adjusted Comparable Value                               $ 6,737        $ 7,091      $ 6,506




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                                                                                                       Owner: Sigler, John
                                                                                                       Claim:                          7001




             COMPARABLE VEHICLES
            COMPARABLE VEHICLE SUMMARY                                                                 The vehicle value is based solely
                                                                                                       on CCC's recent previous valuation
         Source              Comparable Vehicle                             Price     Adjusted Comp
                                                                                                       of this vehicle, reflecting the current
                                                                                               Value   inspection information provided by
                                                                                                       USAA . Adjustments may have been
         Prior Valuation     2013 Chevrolet Impala                        $ 8,437            $ 8,837
                                                                                                       made where the current information
                             Ltz 6 3.6l Gasoline Direct                   (Value)
                                                                                                       differs from that provided to CCC
                             Injection
                                                                                                       regarding the previous valuation. The
                                                                                                       comparable vehicles are presented for
    ** 1 Verified            2013 Chevrolet Impala                        $ 7,795            $ 8,378
                                                                                                       information purposes only.
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection                                                                 **Because the loss vehicle was recently
                                                                                                       valued, the comparable vehicle(s) were
    ** 2 Verified            2013 Chevrolet Impala                        $ 6,500            $ 8,529
                                                                                                       added for informational purposes and
                             Ltz 6 3.6l Gasoline Direct                      (List)                    were not used to determine the Base
                             Injection                                                                 Vehicle Value

    ** 3 Verified            2013 Chevrolet Impala                        $ 6,995            $ 9,355
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 4 Verified            2013 Chevrolet Impala                        $ 6,995            $ 9,084
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 5 Verified*           2013 Chevrolet Impala                        $ 8,999            $ 9,005
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 6 Verified*           2013 Chevrolet Impala                        $ 9,995           $ 10,234
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 7 Verified*           2013 Chevrolet Impala                        $ 5,299            $ 6,737
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 8 Verified*           2013 Chevrolet Impala                        $ 6,992            $ 7,091
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

    ** 9 Verified*           2013 Chevrolet Impala                        $ 5,491            $ 6,506
                             Ltz 6 3.6l Gasoline Direct                      (List)
                             Injection

         Base Vehicle Value                                         $ 8,837.00




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                                                                                                    Owner: Sigler, John
                                                                                                    Claim:                         7001




             VALUATION NOTES
    03/31/2020 11:33 - Pre/Post Tax data modified after Valuation
                                                                                                    Regulations concerning vehicle value
    03/31/2020 11:33 - PVADJ CHANGE REQUESTED BY: ORDELL,MELISSA(94764)                             include California Code of Regulations
    03/31/2020 11:28 - Post Valuation Adjustment entered for:                                       10 CA ADC 2695.

    03/31/2020 11:28 - ADJR Z03 CONFIGURATION CHANGE

    03/31/2020 11:28 - Options added :[California Emissions]

    03/31/2020 11:28 - PVADJ CHANGE REQUESTED BY: ADJUSTER,UNKNOWN(UNK)
    03/23/2020 13:58 - Options added :[Electric Glass Roof]

    03/23/2020 13:58 - Post Valuation Adjustment entered for:
    03/23/2020 13:58 - ADJR Z03 CONFIGURATION CHANGE

    03/23/2020 13:58 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    03/23/2020 13:52 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    03/23/2020 13:49 - Refurbishment Maintenance Item Changed: Purchase Price Old: NIL
    Purchase Price New: $165.00 Date Old: NIL Date New: 02/01/2020

    03/23/2020 13:49 - Refurbishments changed after request Disposed

    03/23/2020 13:48 - PVADJ CHANGE REQUESTED BY: BUSHNELL,DANELLE(P2582)

    This Market Valuation Report has been prepared exclusively for use by USAA, and no
    other person or entity is entitled to or should rely upon this Market Valuation Report and/or
    any of its contents. CCC is one source of vehicle valuations, and there are other valuation
    sources available.




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                                                                   EXHIBIT E                        USAA-SIGLER_000749
                                                                     154
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                                        #:2543


                                                                                                  Owner: Sigler, John
                                                                                                  Claim:                   7001


    SUPPLEMENTAL INFORMATION

            VEHICLE HISTORY INFORMATION

    Using the VIN for this vehicle, VINguard® detected discrepancies or prior history requiring
    additional research. Please review the information detailed below.

     VINguard®
     VINguard® Message: VINguard has decoded this VIN without any errors

     Previous Total Loss Submission:
     Duplicate VIN 96964617       - previously submitted by AUTO CLUB ENTERPRISES on
                                  03/23/2020 claim ref #            4078 in LA MIRADA, CA

     Collision History Information:
     COLLISION INCIDENT REPORTED BY AUTO CLUB ENTERPRISES ON 03/23/2020
     Claim #:                 4078 in LA MIRADA, CA

     Repair Estimate: 0                              Miles: 066632

     Damage Location:         TOTAL LOSS
                              UNKNOWN

     COLLISION INCIDENT REPORTED BY USAA CASUALTY INSURANCE COMPANY ON
     03/10/2020
     Claim #:                        7001 in LA MIRADA, CA

     Repair Estimate: 0                              Miles: 066632

     Damage Location:         TOTAL LOSS
                              UNKNOWN




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                                                                   EXHIBIT E                      USAA-SIGLER_000750
                                                                     155
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                                        #:2544


                                                                                                 Owner: Sigler, John
                                                                                                 Claim:                                7001


    SUPPLEMENTAL INFORMATION
                                                                                                 CCC provides USAA information reported
                EXPERIAN® AUTOCHECK® VEHICLE HISTORY REPORT
                                                                                                 by Experian regarding the 2013 Chevrolet
                                                                                                 Impala (2G1WC5E3XD1155837). This
     TITLE CHECK                                 RESULTS FOUND                                   data is provided for informational purposes.
                                                                                                 Unless otherwise noted in this Valuation
     Abandoned                                     No Abandoned Record Found
                                                                                                 Detail, CCC does not adjust the value of the
     Damaged                                       No Damaged Record Found                       loss vehicle based upon this information.
     Fire Damage                                   No Fire Damage Record Found                   LEGEND :
     Grey Market                                   No Grey Market Record Found                      No Event Found
     Hail Damage                                   No Hail Damage Record Found                      Event Found
     Insurance Loss                                No Insurance Loss Record Found                   Information Needed
     Junk                                          No Junk Record Found                          TITLE CHECK
     Rebuilt                                       No Rebuilt Record Found                       THIS VEHICLE CHECKS OUT
     Salvage                                       No Salvage Record Found                       AutoCheck's result for this loss vehicle
                                                                                                 show no significant title events. When
     EVENT CHECK                                 RESULTS FOUND                                   found, events often indicate automotive

     NHTSA Crash Test Vehicle                                                                    damage or warnings associated with the
                                                   No NHTSA Crash Test Vehicle Record Found
                                                                                                 vehicle.
     Frame Damage                                  No Frame Damage Record Found
                                                                                                 EVENT CHECK
     Major Damage Incident                         No Major Damage Incident Record Found
                                                                                                 THIS VEHICLE CHECKS OUT
     Manufacturer Buyback/Lemon                    No Manufacturer Buyback/Lemon Record Found
                                                                                                 AutoCheck's result for this loss vehicle
     Odometer Problem                              No Odometer Problem Record Found              show no historical events that indicate
     Recycled                                      No Recycled Record Found                      a significant automotive problem. These
     Water Damage                                                                                problems can indicate past previous
                                                   No Water Damage Record Found
                                                                                                 car damage, theft, or other significant
     Salvage Auction                               No Salvage Auction Record Found
                                                                                                 problems.

     VEHICLE INFORMATION                         RESULTS FOUND                                   VEHICLE INFORMATION

     Accident                                                                                    INFORMATION FOUND
                                                   No Accident Record Found
                                                                                                 AutoCheck found additional information
     Corrected Title                               No Corrected Title Record Found
                                                                                                 on this vehicle. These records will provide
     Driver Education                              No Driver Education Record Found              more history for this loss vehicle
     Fire Damage Incident                          No Fire Damage Incident Record Found
                                                                                                 ODOMETER CHECK
     Lease                                         No Lease Record Found                         THIS VEHICLE CHECKS OUT
     Lien                                          No Lien Record Found                          AutoCheck's result for this loss vehicle
     Livery Use                                    No Livery Use Record Found                    show no indication of odometer rollback
     Government Use                                                                              or tampering was found. AutoCheck
                                                   No Government Use Record Found
                                                                                                 determines odometer rollbacks by
     Police Use                                    No Police Use Record Found
                                                                                                 searching for records that indicate
     Fleet                                         No Fleet Record Found                         odometer readings less than a previously
     Rental                                        Rental Record Found                           reported value. Other odometer events
     Fleet and/or Rental                                                                         can report events of tampering, or possible
                                                   Fleet and/or Rental Record Found
                                                                                                 odometer breakage.
     Repossessed                                   No Repossessed Record Found
     Taxi use                                      No Taxi use Record Found
     Theft                                         No Theft Record Found
     Fleet and/or Lease                            No Fleet and/or Lease Record Found
     Emissions Safety Inspection                   No Emissions Safety Inspection Record Found
     Duplicate Title                               No Duplicate Title Record Found

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                                                                   EXHIBIT E                     USAA-SIGLER_000751
                                                                     156
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                                        #:2545


                                                                                                                                   Owner: Sigler, John
                                                                                                                                   Claim:                               7001


    SUPPLEMENTAL INFORMATION
               FULL HISTORY REPORT RUN DATE: 03/31/2020

      Below are the historical events for this vehicle listed in chronological order.

    EVENT             RESULTS                              ODOMETER             DATA                                EVENT
    DATE              FOUND                                  READING            SOURCE                              DETAIL

    09/26/2012        CA                                                10      Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    09/26/2012        CA                                                        Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    09/26/2012        CA                                                        Motor Vehicle Dept.                 TITLED OR REGISTERED
                                                                                                                    AS A RENTAL VEHICLE,
                                                                                                                    OR PART OF A RENTAL
                                                                                                                    FLEET
    10/05/2012        CA                                                        Motor Vehicle Dept.                 TITLE
    09/17/2013        MONTEBELLO, CA                               19429        Dealer Record                       VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/20/2013        CA                                                        GM Certified Data                   GM APPROVED
                                                                                                                    CERTIFIED PRE-OWNED
                                                                                                                    VEHICLE
    09/20/2013        MONTEBELLO, CA                                            GM Certified Data                   VEHICLE IN DEALER
                                                                                                                    INVENTORY
    09/22/2013        CA                                           19438        Motor Vehicle Dept.                 ODOMETER READING
                                                                                                                    FROM DMV
    10/14/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL
    10/23/2013        COSTA MESA, CA                                            Motor Vehicle Dept.                 TITLE
    07/23/2014                                                                  Manufacturer                        MANUFACTURER
                                                                                                                    RECALL
    11/27/2017        LA MIRADA, CA                                             Motor Vehicle Dept.                 REGISTRATION EVENT/
                                                                                                                    RENEWAL

    AUTOCHECK TERMS AND CONDITIONS:

    Experian's Reports are compiled from multiple sources. It is not always possible for Experian to obtain complete discrepancy information on all vehicles; therefore, there may
    be other title brands, odometer readings or discrepancies that apply to a vehicle that are not reflected on that vehicle's Report. Experian searches data from additional sources
    where possible, but all discrepancies may not be reflected on the Report.


    These Reports are based on information supplied to Experian by external sources believed to be reliable, BUT NO RESPONSIBILITY IS ASSUMED BY EXPERIAN OR
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    A PARTICULAR PURPOSE REGARDING THIS REPORT.


    YOU AGREE TO INDEMNIFY EXPERIAN FOR ANY CLAIMS OR LOSSES, INCLUDING COSTS, EXPENSES AND ATTORNEYS FEES, INCURRED BY EXPERIAN
    ARISING DIRECTLY OR INDIRECTLY FROM YOUR IMPROPER OR UNAUTHORIZED USE OF AUTOCHECK VEHICLE HISTORY REPORTS.




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                                                                                EXHIBIT E                                          USAA-SIGLER_000752
                                                                                  157
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                                        #:2546


                                                                                                                                       Owner: Sigler, John
                                                                                                                                       Claim:                                7001


    SUPPLEMENTAL INFORMATION
    Experian shall not be liable for any delay or failure to provide an accurate report if and to the extent which such delay or failure is caused by events beyond the reasonable
    control of Experian, including, without limitation, "acts of God", terrorism, or public enemies, labor disputes, equipment malfunctions, material or component shortages,
    supplier failures, embargoes, rationing, acts of local, state or national governments, or public agencies, utility or communication failures or delays, fire, earthquakes, flood,
    epidemics, riots and strikes.


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                                                                                  EXHIBIT E                                           USAA-SIGLER_000753
                                                                                    158
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                                        #:2547


                                                                                                      Owner: Sigler, John
                                                                                                      Claim:                          7001


    SUPPLEMENTAL INFORMATION
                                                                                                     The National Highway Traffic Safety
           NHTSA VEHICLE RECALL                                                                      Administration has issued 1 safety related
                                                                                                     recall notices that may apply to the above
                                                                                                     valued vehicle.
    NHTSA Campaign ID : 14V355000
    Mfg's Report Date : JUN 23, 2014
    Component : ELECTRICAL SYSTEM
    Potential Number Of Units Affected : 3,141,731
    Summary : This defect can affect the safe operation of the airbag system. Until this
    recall is performed, customers should remove all items from their key rings, leaving only
    the ignition key. The key fob (if applicable), should also be removed from the key ring.
    General Motors LLC (GM) is recalling certain model year 2005-2009 Buick LaCrosse,
    2006-2011 Buick Lucerne, 2000-2005 Cadillac DeVille, 2006-2011 Cadillac DTS,
    2006-2014 Chevrolet Impala, and 2006-2007 Chevrolet Monte Carlo vehicles. In the
    affected vehicles, the weight on the key ring and road conditions or some other jarring
    event may cause the ignition switch to move out of the run position, turning off the engine.
    Consequence : If the key is not in the run position, the air bags may not deploy if the
    vehicle is involved in a crash, increasing the risk of injury. Additionally, a key knocked out
    of the run position could cause loss of engine power, power steering, and power braking,
    increasing the risk of a vehicle crash.
    Remedy : GM will notify owners, and dealers will install two 13mm key rings and key
    insert into the vehicle's ignition keys, free of charge. The manufacturer has not yet
    provided a notification schedule. Owners may contact General Motors customer service
    at 1-800-521-7300 (Buick), 1-800-458-8006 (Cadillac), and 1-800-222-1020 (Chevrolet).
    GM's number for this recall is 14299.
    Notes : Owners may also contact the National Highway Traffic Safety Administration
    Vehicle Safety Hotline at 1-888-327-4236 (TTY 1-800-424-9153), or go to
    www.safercar.gov.




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                                                                   EXHIBIT E                          USAA-SIGLER_000754
                                                                     159
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                                    #:2548




            EXHIBIT F
                                  EXHIBIT F
                                    160
CSAToday
          Case 8:22-cv-02325-CJC-JDE Document 111-2 Filed 01/18/24 Page 161 of 166 Amber
                                                                                   Page       ID
                                                                                     3/25/2020 5:54:08 PM
                                                                                         Peterson (E670487)
                        Market Value          #:2549



          Market Value
                                         Highest Sale Price:*      $2,250        Avg ACV:                    $8,285
              $821                       Lowest Sale Price:*             $75     Avg % of ACV:**                  9.9%

          32 Vehicles                    Period of Sale:           1 year



Your Search Selections:                                                        Selections Returned in Results:
CHEVROLET 2013 - 2013                                                          CHEVROLET 2013
 Models         Series     Loss Type         Primary Damage                    Models         Series    Loss Type
 IMPALA LTZ COLLISION ALL                                                      IMPALA LTZ COLLISION
 Run & Drive     Starts     Region      State              Engine Type         Primary Damage
 ALL             ALL ALL CALIFORNIA ALL                                        FRONT END LEFT & RIGHT SIDE LEFT FRONT LEFT REAR
 Title Type     Airbags Deployed       Secondary Damages                       LEFT SIDE MECHANICAL REAR RIGHT FRONT RIGHT REAR
 ALL            ALL                    ALL                                     RIGHT SIDE
 Keys Present     Odometer                                                     Run & Drive     Starts    Region                   State
 ALL              ALL                                                          ALL             ALL ACE SOUTHWEST CA
                                                                               Engine Type                          Title Type      Airbags Deployed
                                                                               3.6L V6 FI DOHC 24V NF4 N/A          SALVAGE         NO YES
                                                                               Secondary Damages
                                                                               FRONT END LEFT & RIGHT SIDE LEFT FRONT N/A NONE
                                                                               RIGHT REAR RIGHT SIDE SUSPENSION
                                                                               TRANSMISSION DAMAGE UNDERCARRIAGE UNKNOWN
                                                                               Keys Present     Odometer
                                                                               ALL              ALL

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Front End / Suspension
                          92913 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          03/24/2020 Fresno
                                                                                                                                 Sale Price: $400
                                                                                                                                        ACV: $8,632
                                                                                                                                      % of ACV: 4.6%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Left Front / Suspension
                          72867 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          03/18/2020 Sacramento
                                                                                                                            Sale Price: $1,000
                                                                                                                                       ACV: $8,492
                                                                                                                                    % of ACV: 11.8%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Rear / N/A
                          83058 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          03/17/2020 Fontana
                                                                                                                            Sale Price: $2,250
                                                                                                                                       ACV: $9,608
                                                                                                                                    % of ACV: 23.4%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Rear / Suspension
                          123226 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          03/16/2020 Anaheim
                                                                                                                                 Sale Price: $900
                                                                                                                                       ACV: $7,841
                                                                                                                                    % of ACV: 11.5%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Left Side / Suspension
                          90064 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          03/05/2020 Sacramento
                                                                                                                                 Sale Price: $300
                                                                                                                                        ACV: $9,388
                                                                                                                                      % of ACV: 3.2%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Rear / Right Rear
                          131997 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                          02/12/2020 ACE - Carson
                                                                                                                            Sale Price: $1,050
                                                                                                                                       ACV: $6,146
                                                                                                                                    % of ACV: 17.1%

                          2013 CHEVROLET IMPALA LTZ
                          Loss Type: Collision Damage: Left Side / N/A
                          100094 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4

                                                                                               EXHIBIT F
                          02/11/2020 Fontana
                                                                                                                                 Sale Price: $400
                                                                                                 161                                                   Exchange-000083
                                                     ACV: $9,924
Case 8:22-cv-02325-CJC-JDE Document 111-2 Filed 01/18/24        Page 162 of 166 Page ID
                                                   % of ACV: 4.0%
                                    #:2550
      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Rear / N/A
      113351 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      02/03/2020 San Diego
                                                                                Sale Price: $400
                                                                                      ACV: $7,389
                                                                                    % of ACV: 5.4%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Front / Suspension
      128843 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      01/30/2020 East Bay
                                                                                Sale Price: $550
                                                                                      ACV: $7,248
                                                                                    % of ACV: 7.6%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / N/A
      65974 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      01/27/2020 Anaheim
                                                                                Sale Price: $600
                                                                                      ACV: $9,700
                                                                                    % of ACV: 6.2%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Rear / Unknown
      87374 mi. Engine Type: N/A
      01/23/2020 Los Angeles
                                                                               Sale Price: $1,100
                                                                                      ACV: $7,684
                                                                                   % of ACV: 14.3%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / None
      68588 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      01/03/2020 ACE - Perris
                                                                                Sale Price: $800
                                                                                      ACV: $9,457
                                                                                    % of ACV: 8.5%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / Left & Right Side
      114315 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      12/19/2019 East Bay
                                                                                Sale Price: $200
                                                                                      ACV: $7,998
                                                                                    % of ACV: 2.5%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left & Right Side / Transmission Damage
      100229 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      12/11/2019 Los Angeles
                                                                                Sale Price: $800
                                                                                      ACV: $7,016
                                                                                   % of ACV: 11.4%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / Unknown
      91456 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      12/11/2019 Sacramento
                                                                               Sale Price: $1,000
                                                                                     ACV: $10,045
                                                                                   % of ACV: 10.0%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Front / N/A
      104611 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      12/09/2019 Fremont
                                                                                Sale Price: $900
                                                                                      ACV: $8,769
                                                                                   % of ACV: 10.3%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Side / N/A
      113616 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      12/05/2019 Sacramento
                                                                               Sale Price: $1,175
                                                                                      ACV: $8,304
                                                                                   % of ACV: 14.1%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Right Side / Unknown
      81486 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      11/27/2019 Sacramento
                                                                   EXHIBIT F   Sale Price: $1,700
                                                                     162                             Exchange-000084
                                                     ACV: $8,180
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                                                  % of ACV: 20.8%
                                    #:2551
      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Mechanical / Suspension
      109091 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      11/08/2019 East Bay
                                                                              Sale Price: $75
                                                                                  ACV: $8,386
                                                                                % of ACV: 0.9%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / Left Front
      105931 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      10/17/2019 Sacramento
                                                                           Sale Price: $1,133
                                                                                  ACV: $5,100
                                                                               % of ACV: 22.2%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Rear / N/A
      105930 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      10/16/2019 Sacramento
                                                                            Sale Price: $850
                                                                                  ACV: $7,177
                                                                               % of ACV: 11.8%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Rear / Unknown
      52990 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      08/22/2019 East Bay
                                                                            Sale Price: $700
                                                                                  ACV: $9,615
                                                                                % of ACV: 7.3%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Right Side / Suspension
      84529 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      07/31/2019 ACE - Carson
                                                                            Sale Price: $600
                                                                                  ACV: $9,784
                                                                                % of ACV: 6.1%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Front / Transmission Damage
      105160 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      07/15/2019 Anaheim
                                                                            Sale Price: $550
                                                                                  ACV: $6,198
                                                                                % of ACV: 8.9%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Front End / Undercarriage
      100876 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      06/20/2019 Los Angeles
                                                                            Sale Price: $300
                                                                                  ACV: $8,341
                                                                                % of ACV: 3.6%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Right Front / Right Side
      137830 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      06/12/2019 Sacramento
                                                                            Sale Price: $600
                                                                                  ACV: $8,081
                                                                                % of ACV: 7.4%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Right Rear / N/A
      137889 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      06/12/2019 Sacramento
                                                                            Sale Price: $600
                                                                                  ACV: $7,816
                                                                                % of ACV: 7.7%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Rear / N/A
      114327 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      06/11/2019 Fontana
                                                                            Sale Price: $600
                                                                                  ACV: $7,638
                                                                                % of ACV: 7.9%

      2013 CHEVROLET IMPALA LTZ
      Loss Type: Collision Damage: Left Front / Front End
      98008 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
      05/29/2019 Sacramento
                                                               EXHIBIT F   Sale Price: $1,200
                                                                 163                             Exchange-000085
                                                        ACV: $9,245
   Case 8:22-cv-02325-CJC-JDE Document 111-2 Filed 01/18/24        Page 164 of 166 Page ID
                                                     % of ACV: 13.0%
                                       #:2552
                  2013 CHEVROLET IMPALA LTZ
                  Loss Type: Collision Damage: Front End / Unknown
                  125774 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                  05/16/2019 Los Angeles
                                                                                                                                     Sale Price: $425
                                                                                                                                              ACV: $5,977
                                                                                                                                            % of ACV: 7.1%

                  2013 CHEVROLET IMPALA LTZ
                  Loss Type: Collision Damage: Right Rear / Unknown
                  42116 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                  04/23/2019 Fontana
                                                                                                                                  Sale Price: $1,500
                                                                                                                                             ACV: $9,361
                                                                                                                                          % of ACV: 16.0%

                  2013 CHEVROLET IMPALA LTZ
                  Loss Type: Collision Damage: Left Front / Suspension
                  74810 mi. Engine Type: 3.6L V6 FI DOHC 24V NF4
                  04/03/2019 Fremont
                                                                                                                                  Sale Price: $1,600
                                                                                                                                            ACV: $10,593
                                                                                                                                          % of ACV: 15.1%
                                                                                                         Patent Pending

                                                  * Values presented are for your reference/informational purposes only and do not reflect or guarantee an anticipated return.
Information is for your internal use only, solely at your own risk and may not be further copied, distributed or exploited as detailed in our Terms of Use. Results are calculated as simple averages of the sale prices of the
                                                                              vehicles in each year, make, model and primary damage grouping

                              ** This % is based on the ACV at time of sale. Please note that the estimated market value is only calculated when Average Price and Average ACV are available.

                                                                                         Maximum number of results printed is 50.




                                                                                                 EXHIBIT F
                                                                                                   164                                                                                  Exchange-000086
Case 8:22-cv-02325-CJC-JDE Document 111-2 Filed 01/18/24 Page 165 of 166 Page ID
                                    #:2553


  1                              CERTIFICATE OF SERVICE
  2     John W. Sigler v. Jorge Gonzalez, USAA Casualty Insurance Company, et al.
                            Case No. 8:22-cv-02325-CJC-JDEx
  3

  4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  5        I am a citizen of the United States and employed in Los Angeles, California, at
    the office of a member of the bar of this Court at whose direction this service was
  6 made. I am over the age of 18 and not a party to the within actions; my business
    address is 10100 Santa Monica Blvd., Ste. 550, Los Angeles, CA 90067.
  7
           On January 18, 2024, I served the document(s) entitled, DECLARATION OF
  8 MELISSA       ORDELL IN SUPPORT OF DEFENDANT USAA CASUALTY
    INSURANCE COMPANY’S MOTION FOR JUDGMENT ON THE
  9 PLEADINGS ON PLAINTIFF’S FIRST AMENDED COMPLAINT, OR IN
    THE ALTERNATIVE, MOTION TO COMPEL APPRAISAL on the interested
 10 parties in this action by placing true copies thereof enclosed in a sealed envelope(s)
    addressed as stated below:
 11
          (BY MAIL): I deposited such envelope in the mail at Los Angeles, California
 12   with postage fully prepaid. I am readily familiar with this firm’s practice of collection
      and processing correspondence for mailing. Under that practice it would be placed for
 13   collection and mailing, and deposited with the U.S. Postal Service on that same day
      with postage thereon fully prepaid at Los Angeles, California, in the ordinary course
 14   of business. I am aware that on motion of party served, service is presumed invalid if
      postal cancellation date or postage meter date is more than 1 day after date of deposit
 15   for mailing in affidavit.
 16       (BY ELECTRONIC MAIL):              By transmitting a true copy thereof to the
      electronic mail addresses as indicated below.
 17
      and telephone number as stated.
 18
        (BY CM/ECF SERVICE): I caused such document(s) to be delivered
 19 electronically via CM/ECF as noted herein.
 20        I declare under penalty of perjury under the laws of the United States that the
    above is true and correct and was executed on January 18, 2024, at Los Angeles,
 21 California.

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                                                  Lea Borys
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                                                                               1020793\304578071.v1
Case 8:22-cv-02325-CJC-JDE Document 111-2 Filed 01/18/24 Page 166 of 166 Page ID
                                    #:2554


  1                                 SERVICE LIST
  2    John W. Sigler v. Jorge Gonzalez, USAA Casualty Insurance Company, et al.
  3                        Case No. 8:22-cv-02325-CJC-JDEx
  4   VIA EMAIL AND MAIL                     VIA CM/ECF
      John W. Sigler                         Jeet Sen, Esq.
  5
      13129 Stern Avenue                     Eran Scott Forster, Esq.
  6   La Mirada, California 90638            eforster@fwhb.com
      Telephone: (714) 697-8576               rbaptist@fwhb.com
  7
      Email: JSIGLER@SWS-LLC.COM             jsen@fwhb.com
  8   Plaintiff In Propria Persona           FORD, WALKER, HAGGERTY &
                                             BEHAR, LLP
  9
      VIA CM/ECF                             One World Trade Center, 27th Floor
 10   Jeffrey M. Lenkov, Esq.                Long Beach, California 90831-2700
      jeffrey.lenkov@manningkass.com         (562) 983-2500 | (562) 983-2555 Fax
 11
      tlp@ManningKass.com                    Attorneys for Defendant,
 12   MANNING & KASS                         Interinsurance Exchange of Automobile
 13
      ELLROD, RAMIREZ, TRESTER LLP Club of Southern California
      801 S. Figueroa St, 15th Floor
 14   Los Angeles, California 90017-3012
 15
      Telephone: (213) 624-6900
      Facsimile: (213) 624-6999
 16   Attorneys for Imperial Body Shop, Inc.
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